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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS
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JAMES HAJNY and J&J VIRTUAL
COMMUNICATIONS, LLC, on behalf of
themselves and all others similarly situated,

       Plaintiffs,                                           This case assigr.t:~ too·

v.
                                                              Case No.   LJ-; J4{/j/OO(p Jld'/1/
ARVEST BANK,

       Defendant.


               CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiffs James Hajny and J&J Virtual Communications, LLC, by and through their

undersigned counsel, on behalf of themselves and all persons similarly situated, submit this Class

Action Complaint and Demand for Jury Trial and allege the following based on personal

knowledge as to allegations regarding the Plaintiffs and on information and belief as to ·other

allegations.

                                         INTRODUCTION

        1.       This is a civil action seeking monetary damages, restitution, and declaratory relief

from Defendant Arvest Bank (" Arvest") arising from its assessment and collection of improper

and excessive overdraft fees.

        2.       In the era of electronic banking and the ubiquitous use of debit card transactions,

the assessment of overdraft fees has become a major profit center for many United States banks,

including Arvest. For years, banks covered customers who occasionally bounced checks and

even did so for a time for customers using debit cards, without charging their customers. Since

the early 1990's, however, banks have devised methods to provide overdraft "protection" for
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customers and charge them in each instance. An FDIC report estimated that overdraft fees

represent 74 percent of the total service charges that are imposed on deposit accounts in the

United States. An FDIC study reports that overdraft fees for debit cards can carry an effective

annualized interest rate that exceeds 3,500 percent.

       3.      In 2007, banks collected more than $17 billion in overdraft fees. That number

nearly doubled in 2008, as more and more customers struggled to maintain positive checking

account balances. In 2009, banks brought in $37.1 billion in overdraft charges alone. Since

2010, regulatory changes have taken effect as described below. Although the changes initially

lowered the amount of overdraft fees, banks have subsequently found ways to generate amounts

equivalent to prior to 2010. With $14 billion in assets, Arvest, through 281 banking offices,

including 125 throughout Arkansas, provides commercial and retail banking services to

customers. Thus, Arvest is a notable beneficiary of these staggering overdraft charges.

       4.      Almost by definition, these fees disproportionately affect the poor, who are most

likely to maintain low balances. Moebs Services, a research company that has conducted studies

for the government as well as banks, estimates that 90 percent of overdraft fees are paid by the

poorest 10 percent of banks' customer base. Moreover, these fees have the tendency to create a

domino effect, because the imposition of a fee on an account with a negative balance will make it

less likely that the account holder's balance will reach positive territory, resulting in more fees.

        5.     Before debit cards existed, banks occasionally extended the courtesy of honoring

paper checks written on overdrawn or otherwise deficient accounts for customers who were

typically in good standing. Banks extended this courtesy largely because the third party involved

in a sales transaction allowed the customer to pay by check, expecting the funds to be available

and the check to clear. For example, if a customer wrote a check to purchase groceries, the




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grocery store would only know whether the check cleared after the groceries had been

purchased.

        6.    The same considerations are not present when customers use debit cards. Banks

could simply decline to honor debit or point of sale transactions where accounts lack sufficient

funds to execute the transactions.   Retail and service transactions could still be executed if

customers presented an alternative form of payment.        Automated teller machine ("ATM")

transactions could still proceed if banks provided a warning that an overdraft fee would be

assessed, and customers chose to proceed nevertheless. In fact, until a few years ago, most banks

simply declined debit transactions that would overdraw an account.

        7.    For years, instead of simply declining debit transactions when there were

insufficient funds, or warning its customers that an overdraft fee would be assessed if they

proceeded with the transaction, Arvest routinely processed such transactions and then charged its

customers an overdraft fee (currently in the amount of $17) - even when the transaction was for

only a few dollars. Arvest took this action even though its agreements with customers only

allowed Defendant to charge overdraft fees on transactions made by check. Arvest' s automatic,

fee-based overdraft scheme was intentionally designed to maximize overdraft fee revenue for the

Bank.

        8.     Additionally, as part of its inequitable motive to generate obscene profits gained

through the imposition of improper overdraft fees, Arvest failed to adequately notify its

customers of its true overdraft practices and/or their legal rights to avoid same. Indeed, the

company's written documentation, including its contracts, comported with customers' common

sense expectation that the bank would not approve a debit card transaction when there was no

money in the account.




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       9.      In many instances, these overdraft fees cost account holders of Arvest hundreds of

dollars in a matter of days, or even hours, when they were overdrawn by only a few dollars.

Even today, Arvest sometimes charges customers eight overdraft fees (amounting to well over

$100) in a single day. Even more egregious, customer accounts may not have actually been

overdrawn at the time the overdraft fees were charged, or at the time of the debit transaction.

       10.     Thus, it is through manipulation and alteration of customers' transaction records

that Arvest has maximized overdraft penalties imposed on customers.

       11.     In response to the rampant abuse of overdraft charges by banks, the Board of

Governors of the Federal Reserve System (the "Board") implemented Regulation E (12 C.P.R. §

205 .17) to amend the Electronic Funds Transfer Act to include notice requirements for banks

concerning overdraft charges.

       12.      Under Regulation E, a financial institution may not assess a fee or charge on a

consumer's account for paying an ATM or one-time debit card transaction pursuant to the

financial institution's overdraft program unless the financial institution provides the customer

with written notice, separate from all other information, that describes the institution's overdraft

program, and obtains the customer's affirmative consent to the institution's payment of ATM or

one-time debit card transactions that would incur an overdraft fee, and provides written

confirmation of the consumer's consent along with a statement of informing the consumer of the

right to revoke this consent. 12 C.P.R.§ 205.17(b)(1).

        13.     For consumers with an account at a financial institution prior to July 1, 2010, the

institution cannot assess any fees on a consumer's account on or after August 15, 2010 for

paying an ATM or one-time debit card transaction pursuant to the overdraft service unless the

institution has complied with 12 C.P.R. § 205.17(b)(l). 12 C.P.R. § 205.17(c)(1).




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        14.    For accounts opened on or after July 1, 2010, the financial institution cannot

assess any fees on a consumer's account for paying an ATM or one-time debit card transaction

pursuant to the overdraft service unless the institution has complied with 12 C.F.R. §

205.17(b)(1). 12 C.F.R. § 205.17(c)(2).

        15.    The debit card transactions and point of sale transactions described herein qualify

as an "electronic funds transfer" under the Electronic Funds Transfer Act.

        16.    Arvest qualifies as a financial institution that provides an overdraft service as

contemplated by the Electronic Funds Transfer Act. As described below, Arvest has failed to

comply with these regulations which were intended to protect customers from improper overdraft

fees on debit card transactions .

                                    .JURISDICTION AND VENUE

        17.     This Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1331

because it involves a federal question.    This Court also has original jurisdiction pursuant to 28

U.S.C. §§ 1332(d)(2) and (6), because the aggregate claims of the putative Class members

exceed $5 million, exclusive of interest and costs, there are at least 100 members of the putative

Class, and at least one of the members of the proposed Class is a resident of a different state than

Arvest, which is an Arkansas entity.

        18.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Arvest is

subject to personal jurisdiction here, regularly conducts substantial business in this District, and

because a substantial part of the events or omissions giving rise to the claims asserted herein

occurred and continue to occur in this district.

                                          THE PARTIES

        19.     Plaintiff James Hajny is a former customer of Arvest who is a citizen of Missouri.




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       20.    Plaintiff J&J Virtual Communications, LLC ("J&J") is a Missouri limited liability

company.

       21.    Arvest is an Arkansas-chartered bank originally formed in 1871. Arvest operates

out of 281 bank branches in the states of Arkansas, Kansas, Missouri, and Oklahoma. Although

Arvest is not formally connected to Wal-Mart, the two companies share deep ties. Members of

the Walton family own over 95% of Arvest Bank. Wal-Mart has attempted to enter the banking

business for years and has faced strong opposition from the Republican and Democratic parties,

the Federal Reserve, large and small banks, labor unions, and community groups.

                                   CLASS ALLEGATIONS

       22.    Plaintiffs bring this action on behalf of themselves and all others similarly situated

pursuant to Federal Rule 23.     This action satisfies the numerosity, commonality, typicality,

adequacy, predominance, and superiority requirements of Rule 23.

       23.    Plaintiffs propose two classes, defined as:

       All Arvest customers in the United States who, within the applicable statute of
       limitations preceding the filing of this action to the date of class certification,
       incurred an overdraft fee as a result of Arvest' s practices of assessing an overdraft
       fee on a debit card transaction at a time when the customer agreement did not
       provide for such a fee, assessing an overdraft fee even when a debit card
       transaction should not have been authorized, re-sequencing debit card transactions
       from highest to lowest dollar amount, or assessing overdraft fees even when a
       customer had sufficient funds in their account to cover all merchant requests for
       payment (hereinafter referred to as "Improper Overdraft Class").

       All Arvest customers in the United States who were assessed an overdraft fee for
       an ATM or debit card transaction after July 1, 2010, if the account was opened on
       or after July 1, 2010, or August 15, 2010, if the account was opened prior to July
       1, 2010, even though Arvest failed to previously comply with the Electronic
       Funds Transfer Act (hereinafter referred to as "the EFTA Class").




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       24.     Plaintiffs reserve the right to modify or amend the definitions of the proposed

Classes before the Court determines whether certification is appropriate and as the Court may

otherwise allow.

       25.     Excluded from the Classes are Arvest, its parents, subsidiaries, affiliates, officers,

and directors, any entity in which Arvest has a controlling interest, all customers who make a

timely election to be excluded, governmental entities, and all judges assigned to hear any aspect

of this litigation, as well as their immediate family members.

       26.     The members of the Classes are so numerous that joinder is impractical. The

Classes consist of thousands of members, the identity of whom is within the knowledge of and

can be ascertained only by resort to Arvest's records.

       27.     The claims of the representative Plaintiffs are typical of the claims of the Classes.

With respect to the hnproper Overdraft Class, Plaintiffs, like all other members, were charged

overdraft fees by Arvest as a result of its improper practices. With respect to the EFTA Class,

Mr. Hajny and all other members were charged overdraft fees on ATM or debit card transactions

in violation of EFTA and the regulations based thereupon. J&J is not a member of the EFTA

Class, since it was a business customer of the Bank.        The representative Plaintiffs, like all

members of the Classes have been damaged by Arvest' s misconduct in that they have been

assessed improper overdraft charges. Furthermore, the factual basis of Arvest' s misconduct is

common to members of both Classes, and represents a common thread of unfair and

unconscionable conduct resulting in injury to all members of the Classes.

       28.     There are numerous questions of law and fact common to the Classes and those

common questions predominate over any questions affecting only individual Class members.




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       29.       Among the questions of law and fact common to the Improper Overdraft Class are

whether Arvest:

                 a.       Assessed overdraft fees for debit card transactions at times when the

customer agreement did not provide for such fees;

                 b.       Did not obtain affirmative consent from its customers prior to processing

transactions that it knew would result in overdraft fees;

                 c.       Did not alert its customers that a debit card transaction would trigger an

overdraft fee, and did not provide its customers with an opportunity to cancel such transactions;

                 d.       Manipulated and reordered transactions so that it could increase the

number of overdraft fees it imposes;

                 e.       Manipulated and reordered debits from highest to lowest m order to

maximize the number of overdrafts and, consequently, the amount of overdraft fees;

                 f.       Imposed overdrafts and overdraft fees even when there were sufficient

funds in the account;

                 g.       Breached the Bank's form contracts Class through its overdraft policies

and practices;

                 h.       Breached the covenant of good faith and fair dealing through its overdraft

policies and practices;

                 i.       Required its customers to enter into standardized account agreements

which include unconscionable provisions;

                 j.       Converted money belonging to Plaintiffs and other members of the

Improper Overdraft Class through its overdraft policies and practices; and

                 k.       Was unjustly enriched through its overdraft policies and practices.




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          30.   Among the questions of law and fact common to the EFTA Class are whether

Arvest:

                a.     Provided its customers with a notice describing its overdraft services that

complied with 12 C.P.R.§§ 205.17(b)(1)(i), (d);

                b.     Provided its customers with a reasonable opportunity to affirmatively

consent, or opt in, to overdraft services in accordance with 12 C.P.R.§ 205.17(b)(l)(ii);

                c.     Obtained its customers' affirmative consent, or opt-in, to overdraft

services in accordance with 12 C.P.R.§ 205.17(b)(1)(iii);

                d.     Provided its customers with confirmation of their consent in accordance

with 12 C.P.R.§ 205.17(b)(1)(iv); and

                e.     Assessed overdraft fees in violation of EFTA.

          31.   Other questions of law and fact common to the Classes include:

                a.     The proper method or methods by which to measure damages, and

                b.     The declaratory and injunctive relief to which the Classes are entitled.

          32.   Plaintiffs' claims are typical of the claims of other members of the hnproper

Overdraft Class, in that they arise out of the same wrongful overdraft policies and practices and

the same or substantially similar unconscionable provisions of Arvest's account agreements and

other related documents. Mr. Hajny's claims are typical of the claims of other members of the

EFTA Class, in that they are based on EFTA and arise from the same wrongful overdraft policies

and practices. Plaintiffs have suffered the harm alleged and have no interests antagonistic to the

interests of any other member of the Classes.

          33.   Plaintiffs are committed to the vigorous prosecution of this action and have

retained competent counsel experienced in the prosecution of class actions and, in particular,




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class actions on behalf of customers and against financial institutions. Accordingly, Plaintiffs

are adequate representatives and will fairly and adequately protect the interests of the Classes.

       34.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the amount of each individual Class member's claim is

small relative to the complexity of the litigation, and due to the financial resources of Arvest, no

Class member could afford to seek legal redress individually for the claims alleged herein.

Therefore, absent a class action, the Class members will continue to suffer losses and Arvest' s

misconduct will proceed without remedy.

       35.     Even if Class members themselves could afford such individual litigation, the

court system could not. Given the complex legal and factual issues involved, individualized

litigation would significantly increase the delay and expense to all parties and to the Court.

Individualized litigation would also create the potential for inconsistent or contradictory rulings.

By contrast, a class action presents far fewer management difficulties, allows claims to be heard

which might otherwise go unheard because of the relative expense of bringing individual

lawsuits, and provides the benefits of adjudication, economies of scale, and comprehensive

supervision by a single court.

                           COMMON FACTUAL ALLEGATIONS

       A.      Arvest

       36.     Arvest has $14 billion in assets and provides banking services to customers

through 281 banking offices in the states of Arkansas, Kansas, Missouri, and Oklahoma.

       37.     Arvest is in the business of providing its customers with a variety of banking

products and services. Customers who open a checking account are provided with a debit card,

also known as a check card or ATM card. Through such debit cards, customers can engage in

transactions using funds which are withdrawn from their accounts by engaging in "debit" or


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"point of sale" ("POS") transactions, or may withdraw money from their accounts at ATMs.

Whether the card is used to execute POS transactions or to withdraw cash from ATMs, the

transaction is processed electronically. As a result, Arvest is notified instantaneously when the

card is swiped, and has the option to accept or decline transactions at such time. Despite the

terms of its own form contracts, Arvest has intentionally authorized debit card transactions even

when the transaction is not covered by the customer's balance of funds. It has done so in order

to assess highly profitable overdraft fees, even at times when the Bank's contracts did not allow

the assessment of such fees on ATM or POS transactions.

       38.        Arvest employs sophisticated software to automate its overdraft system. This

program maximizes the number of overdrafts, and thus, the amount of overdraft fees charged per

customer.    Arvest utilizes this sophisticated software system to generate overdraft fees.

Customers at all Arvest branches suffer from the same policies and systems in regard to

overdraft fees.

       39.        As a result of Arvest's manipulation and alteration of customers' transaction

records, funds in a customer's account are depleted more rapidly and more overdraft fees are

likely to be charged for multiple smaller transactions. Indeed, overdraft charges are likely to

occur at times when, but for the manipulation and alteration, there would be funds in the account

and no overdraft would occur. For example, if a customer, whose account had a $100 balance at

the time Arvest posted several transactions, made four transactions of $20 and then one

subsequent transaction of $100, Defendant reordered the debits from largest to smallest,

imposing four overdraft fees on the customer. Conversely, if the $100 transaction were debited

last - consistent with the actual order of transactions - only one overdraft fee would have been




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assessed. See FDIC Study of Bank Overdraft Programs, November 2008, available at:

http://www.fdic.gov/bank/analytical/overdraft/, at p. 11, n.l2.

       B.      Arvest's Relevant Customer Documents Regarding Overdrafts.

       40.     Plaintiffs and all members of the Classes maintain or maintained a checking

account with Arvest. The terms of the Bank's checking accounts are contained in standardized

account holder agreements, presented to its customers on a "take it or leave it" basis, drafted and

imposed by Arvest, which is the party of vastly superior bargaining strength. The account

agreement thus constitutes an agreement of adhesion. The Bank prepares different versions of

the account agreement periodically. The version of the account agreement that was in place

during much of Plaintiffs' time as customers is attached hereto as Exhibit A.

       41.     The account agreement states the following as to overdraft fees:

       A check that will overdraw the available account balance will trigger a service
       charge, whether we pay the item or dishonor it. We may, at our option and in lieu
       of other charges in connection with an overdraft, charge interest on the overdraft
       at a rate not to exceed the maximum legal rate until paid. You agree, immediately
       upon notice from us, to deposit funds sufficient to cover any overdraft plus
       service charges. In connection with overdrafts, our determination of the account
       balance may be made at any time between presentment and our midnight
       deadline, and will only be made once. The fact that we may honor withdrawal
       requests which overdraw the available account balance does not obligate us to do
       so. We will not be obligated to honor such requests unless required by law or by
       another agreement we have with you.

        42.    Notably, the account agreement does not authorize the Bank to assess overdraft

fees against debit card transactions, but only "[a] check that will overdraw the available account

balance." This distinction is certainly appropriate because, unlike with checks, at the time a

debit card transaction (such as an ATM withdrawal or a POS purchase) is approved by the Bank,

it knows full well what funds are in the customer's account. Indeed, the Arvest agreement

comports with customers' expectation that the Bank will not authorize debit card transactions

when there is no money in the account.


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       43.     The account agreement does allow for the Bank to make changes:

       This account is subject to charges, interest rates, and minimum balance
       requirements established from time to time by us. We may change such
       applicable charges, interest rates, and minimum balance requirements, or any
       other account terms, at any time, after such notice, if any, as is required by law, or
       if there is no specific requirement of law, then after reasonable notice. Notice
       from us to any one of you is notice to all of you.

Notably, Arvest never informed Mr. Hajny or J&J of its intention to change the agreement to

allow the Bank to assess overdraft fees on debit card transactions.

       44.     The Bank also prepared a separate debit card agreement which dealt specifically

with the use of ATM or debit cards. The version of the debit card agreement that was in place

during much of Plaintiffs' time as a customer is attached hereto as Exhibit B. Nothing in the

debit card agreement authorized the Bank to assess overdraft fees on Plaintiffs' debit card

transactions. Indeed, in at least two places the agreement suggests that transactions will not be

authorized if there are not adequate funds in the account. For example, at the bottom of the first

page, it states "You may withdraw up to $600.00 per business day (but not more than the funds

available in the account for withdrawal) from an electronic terminal that accepts your Arvest

ATM Card." (emphasis added). The Bank did not honor these terms but rather authorized debit

card transactions even though funds were not available, and then assessed an overdraft fee on

each such debit card transaction. Arvest was entitled to amend the debit card agreement but was

required to deliver "written notice of such amendment, modification, or rescission to you at least

21 days prior to the effective date of any such change if the change would result in increased fees

or charges . . . . " Arvest never informed Mr. Hajny or J&J of its intention to change the

agreement to allow the Bank to authorize approval of debit card transactions "on credit"- where

no funds were in the account- or to assess overdraft fees on debit card transactions.




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       45.      The account agreement and debit card agreement also do not disclose Arvest's

improper reordering and overdraft assessment practices described herein.

       46.      Until required to do so by federal regulators in 2010, Arvest failed to disclose to

customers that they had the option to "opt out" from· Arvest's overdraft scheme for debit card

transactions.   In 2010, the Bank did provide notice for the first time.       The notice was not

accurate, however, and failed to disclose the Bank's true practices. Moreover, the federally-

mandated opt out notices did not purport to change the Bank's account agreement or debit card

agreement and so could not authorize new practices or fees.

       C.       Arvest's Reordering of Checking Account Transactions.

       47.      In an effort to maximize overdraft revenue, Arvest manipulated and reordered

debits from highest to lowest during given periods of time.           Arvest reordered debit card

transactions for no reason other than to increase the number of overdraft fees it could charge.

This practice violates the parties' contracts and the covenant of good faith and fair dealing.

       48.      Transactions involving debit cards used by Arvest customers, including the

withdrawal of cash from ATMs and POS transactions with vendors, are processed electronically.

As a result, Arvest is notified instantaneously when the customer's debit card is swiped, and has

the technological option to accept or decline these transactions. As described above, pursuant to

the Bank's form contracts, Arvest was not allowed to approve debit card transactions to any

extent they would result in an overdraft fee. Nevertheless, the Bank established a policy of

authorizing debit card transactions that it knew would result in an overdraft fee.

        49.     Notwithstanding the instantaneous nature of these electronic debit card

transactions, for years Arvest failed to post charges in the order in which they were assessed or

received. Arvest developed a policy and employed a practice whereby account charges and

debits were posted to its customers' accounts out of chronological order for the sole purpose of


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maximizing the number of overdraft transactions and, therefore, the amount of overdraft fees

charged to its customers.

       50.     Instead of processing such transactions in chronological order, Arvest processed

them starting with the largest debit and ending with the smallest debit, so as to generate the

largest possible number of overdrafts and the greatest possible amount of overdraft fees.

       51.     Arvest refrained from immediately posting transactions to a customer's account as

it authorized them- sometimes for multiple business days. By holding transactions rather than

posting them immediately to an account, Arvest was able to amass several transactions.

Subsequently, Arvest posted all of the amassed transactions on a single date. When the group of

transactions was eventually posted to the customer's account, Arvest posted them in order of

largest to smallest - not in the order in which they were received or in the order in which they

were made. This delayed posting resulted in the imposition of multiple overdraft fees that would

not otherwise have been imposed.          The delayed posting also prevented customers from

ascertaining the accurate balances in their accounts.

       52.     Arvest' s policy and practice of posting charges from largest to smallest, rather

than chronologically, or from smallest to largest, was specifically designed to maximize the

generation of overdraft fees by triggering overdraft fees for account charges that would not

otherwise result in such fees. Arvest would have had no higher expenses and would not have

faced greater risk if it had ordered transactions chronologically or from smallest to largest.

       53.     Arvest enforced this policy whereby transactions were posted to customers'

accounts in a non-chronological order, from highest to lowest, and were held for multiple days

and then hatched together, to maximize the number of overdraft transactions and fees. Arvest's

processing practices substantially increased the likelihood that customers' smaller charges would




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result in multiple overdraft fees. The practices provided Arvest with substantially higher service

fee revenues than it would otherwise achieved absent these practices.

       54.     As a result of these and other practices, Plaintiffs and members of the Classes

have been assessed overdraft fees for transactions which occurred when they actually had

sufficient funds in their accounts to cover those transactions.

       D.      Arvest's Cloaking of Accurate Balance Information.

       55.     Arvest actively promoted the convenience of its debit cards and other electronic

debiting, but failed to provide customers with accurate balance information. When customers

execute account transactions, they generally did not have access to an accurate balance register

or balance information.

       56.     Arvest provided inaccurate balance information to its customers through its

electronic network. In certain cases, Arvest informed its customers that they had a positive

balance when, in reality, they had a negative balance pursuant to Defendants' manipulations of

the customer's transactions, and despite Defendants' actual knowledge of all outstanding debits

and transactions.

       57.     Arvest also organized its customers' balance information on its website in

chronological order even though it actually posted transactions in "high to low" order.        By

displaying transactions in an order that was directly contrary to the way in which they were

actually posted, Arvest caused great confusion to its customers.

        58.    Furthermore, for a substantial portion of the Class Period, Arvest generated

confusion by formatting monthly statements to hide its true ordering practices.

        59.    Even when Arvest had actual knowledge of outstanding transactions which had

already created a negative available balance in a customers' account, it encouraged the customer




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to incur more overdraft charges by approving - rather than prudently declining - subsequent

debit card purchases and other electronic transactions.

       E.       Arvest's Failure to Notify Customers of Overdrafts or Advise Customers of
                Their Right to Opt Out.

       60.      At the time its debit cards are used in POS transactions or at A TMs, Arvest is able

to determine, almost instantaneously, whether there are sufficient funds in a customer's account

to cover that particular transaction.    Defendant has, and has always had, the technological

capability to decline transactions (which it does when a pending transaction would exceed a pre-

determined, overdraft tolerance limit for the account), or notify customers at that very moment

that the particular debit card transaction would result in an overdraft. Prior to the effective date

of the opt in/opt out requirements of the Electronic Funds Transfer Act ("EFTA"), Arvest could

have given customers the option to decline the transaction to avoid incurring overdraft fees, but it

failed to do so because it sought to maximize the amount of revenue generated through its

assessment of overdraft fees. These practices violated the Bank's contracts.

       61.      Notwithstanding its technological capabilities and actual knowledge, Arvest failed

to provide notice to Plaintiffs and the Classes that a particular debit card transaction would result

in an overdraft and, hence, an overdraft fee. Because Arvest' s customers were not notified of the

potential overdraft, and were not given the option of declining the debit card transaction or

providing another form of payment, the customers were assessed monetary damages in the form

of overdraft fees that violated the Bank's contracts.

        62.     Until 2010, when it was under a federal mandate to do so as a result of recently

adopted legislation, Arvest failed to make Plaintiffs and members of the Classes aware that they

could opt out of its overdraft scheme upon request, thereby avoiding overdraft fees on debit card

transactions.



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        F.    Arvest's Overdraft Policies and Practices Are Contrary to Best Practices.

        63.   By engaging in the conduct described herein, Arvest has failed to follow the list

of "best practices" for overdraft programs set forth in the "Joint Guidance on Overdraft

Protection Programs" ("Joint Guidance") issued by the United States Department of the

Treasury, the Office of the Comptroller of the Currency, the Board of Governors of the Federal

Reserve System, the Federal Deposit Insurance Corporation, and the National Credit Union

Administration (collectively the "Agencies").    A copy of the Joint Guidance is attached as

Exhibit C. These "best practice" recommendations include: "Provide election or opt-out of

service. Obtain affirmative consent of consumers to receive overdraft protection. Alternatively,

where overdraft protection is automatically provided, permit consumers to 'opt-out' of the

overdraft program and provide a clear consumer disclosure of this option." 70 F.R. 9127-01,

9132.

        64.   According to rules proposed by the Agencies: "Injury [caused by overdraft

charges] is not outweighed by countervailing benefits .... This is particularly the case for ATM

withdrawals and POS debit card transactions where, but for the overdraft service, the transaction

would typically be denied and the consumer would be given the opportunity to provide other

forms of payment without incurring any fee." 73 F.R. 28904-01, 28929 (May 19, 2008).

        65.   The Joint Guidance also advises banks to "[a]lert customers before a transaction

triggers any fees.   When consumers attempt to withdraw or transfer funds made available

through an overdraft protection program, provide a specific consumer notice, where feasible, that

completing the withdrawal may trigger the overdraft fees." 70 F.R. 9127, 9132. The Joint

Guidance further advises that "[t]his notice should be presented in a manner that permits

consumers to cancel the attempted withdrawal or transfer after receiving the notice." /d.




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       66.     Similarly, the list of "best practices" recommended in "Overdraft Protection: A

Guide for Bankers," issued by the American Bankers Association, includes offering customers

the option of "opting out" of any overdraft programs, and informing customers, before they

access funds, that a particular point of sale or ATM transaction will cause them to incur an

overdraft fee. A copy of "Overdraft Protection: A Guide for Bankers" is attached as Exhibit D.

       67.     Arvest' s overdraft policies made it difficult for customers to avoid injury even if

they carefully tracked the balance in their account. In fact, the Agencies have stated that injury

resulting from such policies, "is not reasonably avoidable" by the consumer. 73 F.R. 28904-01,

28929. "It appears that consumers cannot reasonably avoid this injury if they are automatically

enrolled in an institution's overdraft service without having an opportunity to opt out. Although

consumers can reduce the risk of overdrawing their accounts by carefully tracking their credits

and debits, consumers often lack sufficient information about key aspects of their account. For

example, a consumer cannot know with any degree of certainty when funds from a deposit or a

credit for a returned purchase will be made available."

       68.     On October 6, 2009, the Center for Responsible Lending issued a report entitled

"Overdraft Explosion: Bank Fees for Overdrafts Increase 35% in Two Years." The report,

attached hereto as Exhibit E, found that it is now "standard procedure to automatically enroll

checking account customers in their most expensive overdraft loan program." The report finds

that debit card transactions account for more overdraft fees than traditional checks or any other

type of transaction, even though "debit card transactions and ATM withdrawals ... could easily

be denied for no fee." The report also finds that overdraft fees increased 35 percent from 2006 to

2008, and that over 50 million Americans overdrew their accounts in a 12-month period, with 27

million accounts incurring five or more overdraft fees.




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       69.      A chart from the research company Moebs Services shows that, in every year

from 1992 to 2009, banks gained increased revenues from overdraft fees:


             Bank and Credit Union Revenue from Overdraft Programs and lnsufffc:lent-Funds Fees,
                                           .
                                               In $Billions
                                       ·····~~..         .
                                                   •.•......•..•..        .................•..........................




       G.       Arvest's Unconscionable Contractual Provisions and Policies.

       70.      Arvest' s contracts and overdraft policies and practices are unconscionable in the

following respects, among others:

                a.      Prior to the effective date of the EFTA, Arvest did not disclose or

reasonably disclose to customers that they had the option to "opt out" of the overdraft scheme;




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               b.      Prior to the effective date of the EFTA, Arvest did not obtain affirmative

consent from checking account customers prior to processing a transaction that would overdraw

the account and result in an overdraft fee;

               c.      Arvest did not alert customers that a debit card transaction would trigger

an overdraft, and did not provide the customer the opportunity to cancel that transaction, before

assessing an overdraft fee;

               d.      Defendant used unduly discretionary power to assess fees even at times

when no economic argument could be made for such fees;

               e.      To the extent Arvest claims its overdraft practices were the result of its

power to amend its contracts at will and without proper notice to customers;

               f.      The account agreement and related documents are contracts of adhesion in

that they are standardized forms, imposed and drafted by Defendant, which is a party of vastly

superior bargaining strength, and only relegate to the customer the opportunity to adhere to them

or reject the agreement and related documents in their entirety; and

               g.      To the extent they allow the improper overdraft fees described herein, the

account agreement and debit card agreement are ineffective, ambiguous, deceptive, unfair, and

misleading.

        H.     Arvest's Overdraft Practices Harmed Plaintiffs and the Classes.

        71.    Arvest' s wrongful overdraft policies and practices described above harmed

Plaintiffs and members of the Classes.

        72.    Mr. Hajny and J &J are former checking account customer of Arvest. Plaintiffs

both held Arvest checking accounts that were subject to the same relevant contractual provisions

in Arvest' s form account agreement.




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       73.     Arvest issued debit cards to Plaintiffs in connection with these accounts. Both

accounts were subject to the same relevant contractual provisions in Arvest's form debit card

agreement.

       74.     On multiple occasions, Arvest wrongfully assessed overdraft fees against both

checking accounts.

       75.     For example, overdrafts were charged against debit card, as opposed to check,

transactions in violation of the parties' contracts. Further, Arvest authorized debit transactions

even when, according to the Bank's internal calculations, funds were not available to cover the

transaction. The Bank then assessed an overdraft fee.

       76.     The Bank also manipulated Plaintiffs' transactions by reordering them from

highest to lowest based on the dollar amounts of the transactions. Arvest manipulated Plaintiffs'

transactions in this manner for the purpose of generating additional overdraft occurrences. The

Bank also did so in a very deceptive manner because Plaintiffs saw transactions in one order on

the Bank's website and then, when Mr. Hajny would log on a day or two later, the transactions

had been rearranged to increase the number of overdraft fees charged. On multiple occasions

Plaintiffs confronted Bank employees about these practices.         Arvest personnel refused to

acknowledge that the Bank's practices were improper.

       77.     Arvest has also assessed overdraft fees even at times when Plaintiffs had positive

balances of actual funds in their accounts.

       78.     Plaintiffs were also victims of the other improper practices described above.

       79.     If Arvest had not violated its contracts and otherwise improperly assessed

overdraft fees, Plaintiffs would not have been assessed as many overdraft fees.




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       80.     In 2010, in an attempt to comply with Reg E, the Bank did provide Plaintiffs with

a notice about opting in to the Bank's debit card overdraft program. The notice was wholly

insufficient because it did not reveal many of the Bank's actual practices, such as the

manipulation of transactions. Based on the Bank's misleading notice, Plaintiffs did opt in to the

program by clicking a box at Arvest' s online banking website. The notices and opt in were not

contractual in nature, however, and did not vary the parties' agreements. Further, the notice did

not disclose any of the Bank's actual practices, other than the possibility that the Bank might

cover debit card transactions at times when enough funds were not present in the account. Under

no circumstances did Plaintiffs opt in to any other aspect of the Bank's overdraft practices.

       81.     The overdraft fees assessed Plaintiffs are representative of millions of dollars of

overdraft fees that Arvest wrongfully assessed and deducted from its customers' accounts. These

wrongful takings are especially egregious considering the fact that Defendant approved each

transaction and often knew at the time of approval whether there were sufficient funds in the

account to cover the transaction.

       I.      The Damages Sustained by Plaintiffs and the Classes.

       82.     Arvest' s overdraft policies made it difficult for a customer to avoid injury even if

the customer keeps close track of the balance in his or her account. In fact, the Agencies have

stated that "injury" resulting from such policies "is not reasonably avoidable" by consumers. 73

F.R. 28904-01, 28929. "It appears that customers cannot reasonably avoid this injury if they are

automatically enrolled in an institution's overdraft service without having an opportunity to opt

out. Although customers can reduce the risk of overdrawing their accounts by carefully tracking

their credits and debits, customers often lack sufficient information about key aspects of their

account. For example, a customer cannot know with any degree of certainty when funds from a

deposit or a credit for a returned purchase will be made available." /d.


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       83.     Thus, as a consequence of Arvest's overdraft policies and practices, Plaintiffs and

the Classes have been wrongfully forced to pay overdraft fees. Arvest has improperly deprived

Plaintiffs and the Classes of significant funds, causing ascertainable monetary losses and

damages.

       84.     As a consequence of Arvest's improper overdraft fees, Arvest has wrongfully

deprived Plaintiffs and the Classes of funds to which it had no legitimate claim.

       85.     Plaintiffs had sufficient funds to cover at least some of the transactions for which

they were charged overdraft fees. Plaintiffs and members of the Classes either had adequate

funds to cover the transactions posted to their accounts, or the accounts were allowed to become

overdrawn, even by de minimis margins, exclusively so that Arvest could impose these wrongful

charges. In many instances, Arvest's manipulation of the process for imposing overdraft fees

triggered a cascade of charges that exponentially added to the charges it collected from Plaintiffs

and the members of the Classes.

                             FIRST CLAIM FOR RELIEF
      Breach of Contract and Breach of the Covenant of Good Faith and Fair Dealing

       86.     Plaintiffs repeat paragraphs 1 through 85 above.

       87.     Plaintiffs and Arvest have contracted for bank account services, including

checking, ATM, and debit card services. As described above, the actions taken by Arvest have

violated the specific terms of the account agreement and debit card agreement with customers.

       88.     For example, each time the Bank assessed an overdraft fee against a non-check

debit card transaction, it violated the account agreement. Arvest violated other terms of the

account agreement.




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       89.     Arvest also violated the terms of the debit card agreement. For example, each

time the Bank approved a transaction that it knew would result in an overdraft fee, it violated

the debit card agreement. Arvest violated other terms of the debit card agreement.

       90.     Arvest has further breached the account agreement and debit card agreement

based on its violations of the covenant of good faith and fair dealing.        Under the laws of

Arkansas, Kansas, Missouri, and Oklahoma, good faith is an element of every contract pertaining

to the assessment of overdraft fees. Whether by common law or statute, all such contracts

impose upon each party a duty of good faith and fair dealing. Good faith and fair dealing, in

connection with executing contracts and discharging performance and other duties according to

their terms, means preserving the spirit- not merely the letter- of the bargain. Put differently,

the parties to a contract are mutually obligated to comply with the substance of their contract in

addition to its form. Evading the spirit of the bargain and abusing the power to specify terms

constitute examples of bad faith in the performance of contracts.

       91.     Subterfuge and evasion violate the obligation of good faith in performance even

when an actor believes his conduct to be justified. A lack of good faith may be overt or may

consist of inaction, and fair dealing may require more than honesty. Examples of violations of

good faith and fair dealing are evasion of the spirit of the bargain, willful rendering of imperfect

performance, abuse of a power to specify terms, and interference with or failure to cooperate in

the other party's performance.

       92.     Arvest has breached the account agreement and debit card agreement with its

customers by breaching the covenant of good faith and fair dealing through its overdraft policies

and practices as alleged herein.




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       93.     Plaintiffs and the members of the Improper Overdraft Class have performed all, or

substantially all, of the obligations imposed on them under the account agreement and debit card

agreement.

       94.     Plaintiffs and the members of the Improper Overdraft Class have sustained

damages as a result of Arvest' s breaches of the account agreement and debit card agreement and

further breaches of the account agreement and debit card agreement as interpreted in accordance

with the covenant of good faith and fair dealing.

                                    SECOND CLAIM FOR RELIEF
                                         Unconscionability

       95.     Plaintiffs repeat paragraphs 1 through 85 above.

       96.      Arvest's form contracts and overdraft policies and practices are substantively and

procedurally unconscionable in the following respects, among others:

                a.      Prior to the effective date of EFTA, Defendant did not disclose or

reasonably disclose to customers that they could "opt out" of the overdraft scheme;

                b.      Prior to the effective date of EFTA, Defendant did not obtain affirmative

consent from checking account customers prior to processing a transaction that would overdraw

the account and result in an overdraft fee;

                c.      Defendant did not alert its customers that a debit card transaction would

trigger an overdraft, and did not provide the customer the opportunity to cancel that transaction,

before assessing an overdraft fee;

                d.      The account agreement and debit card agreement are contracts of adhesion

in that they are standardized forms, imposed and drafted by Defendant, which is a party of vastly

superior bargaining strength, and only relegate to the customer the opportunity to adhere to them

or reject them in their entirety;



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               e.      The account agreement and debit card agreement provided to customers

are ineffective, ambiguous, deceptive, unfair, and misleading in that, to any extent they give the

Bank the right to impose the various overdraft policies described herein, they do so in a way that

grossly unfair, because the Bank's actual practices are never disclosed or permitted.

       97.     Considering the great business acumen and experience of Arvest in relation to

Plaintiffs and the members of the Classes, the great disparity in the parties' relative bargaining

power, the inconspicuousness and incomprehensibility of the contract language at issue, the

oppressiveness of the terms, the commercial unreasonableness of the contract terms, the purpose

and effect of the terms, the allocation of the risks between the parties, and similar public poli<;:y

concerns, these provisions are unconscionable and, therefore, unenforceable as a matter of law.

       98.     Plaintiffs and members of the Classes have sustained damages as a result of

Arvest' s unconscionable policies and practices as alleged herein.

                                 THIRD CLAIM FOR RELIEF
                                     Unjust Enrichment

       99.     Plaintiffs repeat paragraphs 1 through 85 above.

        100.   Plaintiffs, on behalf of themselves and the Classes, assert a common law claim for

unjust enrichment. This claim is brought solely in the alternative and Plaintiffs concede that this

claim cannot survive if their contractual claims succeed. If, however, the parties' contracts are

deemed unconscionable or otherwise unenforceable for any reason, unjust enrichment will

dictate that Arvest disgorge all improperly assessed overdraft fees.

        101.   By means of Arvest's wrongful conduct alleged herein, Arvest knowingly

assessed fees upon Plaintiffs and members of the Classes that are unfair, unconscionable, and

oppressive.




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        102.    Arvest knowingly received and retained wrongful benefits and funds from

Plaintiffs and members of the Classes. In so doing, Arvest acted with conscious disregard for the

rights of Plaintiffs and members of the Classes.

        103.    As a result of Arvest's wrongful conduct as alleged herein, Arvest has been

unjustly enriched at the expense of, and to the detriment of, Plaintiffs and members of the

Classes.

        104.    Arvest's unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein.

        105.    Under the common law doctrine of unjust enrichment, it is inequitable for Arvest

to be permitted to retain the benefits it received, and is still receiving, without justification, from

the imposition of overdraft fees on Plaintiffs and members of the Classes in an unfair,

unconscionable, and oppressive manner. Arvest' s retention of such funds under circumstances

making it inequitable to do so constitutes unjust enrichment.

        106.    The financial benefits derived by Arvest rightfully belong to Plaintiffs and

members of the Classes. Arvest should be compelled to disgorge in a common fund for the

benefit of Plaintiffs and members of the Classes all wrongful or inequitable proceeds received by

them. A constructive trust should be imposed upon all wrongful or inequitable sums received by

Arvest traceable to Plaintiffs and the members of the Classes.

        107.    Plaintiffs and members of the Classes have no adequate remedy at law.




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                                FOURTH CLAIM FOR RELIEF
               Violation of the Electronic Funds Transfer Act and Its Regulations
                               15 U.S.C. § 1693 and 12 C.F.C. § 205

        108.    Plaintiffs repeat paragraphs 1 through 107 above.

        109.    Plaintiff Hajny alleges this claim on behalf of himself and the EFTA Class

members who have been assessed one or more overdraft fees or charges based on ATM or debit

card transactions.

        110.    Plaintiff Hajny, on behalf of himself and the EFTA Class, asserts that Arvest

failed to:

                a.     Provide its customers with a notice describing its overdraft services that

complies with 12 C.P.R.§§ 205.17(b)(1)(i), (d);

                b.     Provide its customers with a reasonable opportunity to affirmatively

consent, or opt in, to overdraft services in accordance with 12 C.P.R.§ 205.17(b)(1)(ii);

                c.     Obtain its customers' affirmative consent, or opt-in, to overdraft services

in accordance with 12 C.P.R.§ 205.17(b)(1)(iii); or

                d.     Provide its customers with confirmation of their consent in accordance

with 12 C.P.R.§ 205.17(b)(l)(iv).

        111.    Nonetheless, Arvest imposed overdraft fees on customers based on ATM or debit

card transactions in violation of 12 C.P.R.§§ 205.17(b), (c).

        112.    As a result of Arvest's violations of EFTA, Defendant is liable to Plaintiff Hajny

and the EFTA Class for actual and statutory damages pursuant to 15 U.S.C. § 1693m.

        113.    As a result of Arvest's violations of EFTA, Defendant is liable to Plaintiff Hajny

and the EFTA Class for actual and statutory damages and Plaintiff and the Class are entitled to

recover costs of suit and their reasonable attorneys' fees.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and the Classes demand a jury trial on all claims so triable and

judgment as follows:

       1.      A warding actual damages in an amount according to proof;

       2.      Awarding restitution of all improper overdraft fees paid to Arvest by Plaintiffs

and the Classes, as a result of the wrongs alleged herein in an amount to be determined at trial;

       3.      Compelling disgorgement of the ill-gotten gains derived by Arvest from its

misconduct;

       4.      Awarding punitive and exemplary damages;

       5.      Awarding statutory damages;

       6.      Awarding pre-judgment interest at the maximum rate permitted by applicable law;

       7.      Reimbursing all costs and disbursements accrued by Plaintiffs in connection with

this action, including reasonable attorneys' fees pursuant to applicable law; and

       8.      Awarding such other relief as this Court deems just and proper.




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Dated: December 31, 2013.

                                   Respectfully submitted,

                            BY:    WATSONBURNS,PLLC

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                                   * Pro hac vice application to be promptly filed




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                 EXHIBIT "A"
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  IMPORTANT INFORMATION ABOUT
      OPENING AN ACCOUNT
                                                                                                                            t&VESr
                                                                                                                             BANK MSM!.!.
The USA Patriot Act and the related rules and regulations requires all financial institutions to verify the identity of customers in certain situations, as defined by
law. Customers include, but are not limited to, deposit account holders, borrowers, guarantors of credit, parties in trust, purchasers of investment products and
signers on deposit accounts and loans. We are required to ask you to provide your name, current address, social security number or other government issued
identifying number and date of birth. You may be asked to provide proof of your identity, such as a valid driver's license, passport (and country of issuance), or
other government issued photo identification documenting evidence of nationality and residence. The information you provide to us may be verified using one
or more methods. For instance we may compare it against public databases of information to determine that it is valid. We may also ask you additional
questions after the time of your transactions concerning the information requested. If the information cannot be verified satisfactorily, your account may be
restricted or closed.
                                                                                                                                  USPatriotAct 2005
                                                                   Account Information Line
Account Information Line is the automated customer service line. A touch-tone phone is all you need to give you current account/card information .You may
access information about: checking, savings, spending card, money market accounts, loan information, current interest rates, andincoming direct deposit
amounts, branch locations and hours.

By choosing a Personal Identification number (PIN) for Account Information Line, I agree and understand that this number will allow me access tomy
accounts/cards when I call the Account Information Line.

The Bank reserves the right to refuse to release this number to the owner(s) of the account(s)/card(s) whether in person, by telephone, or by letter.lf the number
is lost or stolen, I will contact the Bank immediately to select a new number.

I understand that my Personallndentification number (PIN) should be kept confidential and not disclosed to any party that is not an account/cardowner.
Disclosure of my Personal Identification number (PIN) to another party is considered implied consent and the Bank will not be liable for anytransactions
conducted due to disclosure of your Personal Identification number (PIN). For my protection, my account information line will bedeactivated if not used within

                                                                     Banking on the Net Agreement

I am requesting the above named accounts be included in the Arvest Banking on the Net service. I understand that access to this service is controlled by Logon
ID(s) and Password(s). The security of the Logon ID(s) and Password(s) shall be my sole responsibility and I agree to keep the Logon ID(s) and Password(s)
confidential and not to disclose them to any unauthorized person. The Bank shall not be liable to me for any loss or damage sustained by me or any third party
resulting from, or arising out of, my failure to safeguard the confidentiality of the Logon ID(s) and Password(s). I agree to change my Password(s) on a regularly
scheduled basis or in the event I feel my password(s) may have become compromised, I agree to promptly change my Password(s) and notify the Bank. The
Bank shall not be liable to me or any third party for any loss or damage resulting from, or arising out of, my failure to do so.

If I utilize the Bill Payment Services, I authorize Arvest Bank to post the bill payment transactions by electronic transfer, a draft without signature, or a debit to the
account. If I elect to terminate this service, a ten day(1 0) written notice must be provided to Arvest Bank.

All applicable portions of the agreement shall remain in effect with respect to any entries initiated by me prior to such termination. This agreement does not
supersede any signature card rules and regulations, depository agreements, or any other agreements I may have with the Bank. All account agreements and
rules now or hereafter governing my accounts will remain in full force and effect after the execution of this agreement.

We may discontinue your Banking on the Net for any reason, including non-usage or 180 days of inactivity, at any time.

My use of this service signifies that I have read and accepted the terms and conditions of Arvest Banking on the Net and Bill Payer Services. These terms and
conditions can be located on the sign-on page for Arvest Banking on the Net services.

                                                               Application for Electronic Access Device
    Depositor (whether one or more) hereby applies to Bank for an electronic access device ("Access Device"), and additional Access Devices for the authorized
person(s) indicated below, to access the accounts listed below and to perform such other banking functions with the Access Device as are described in the
Electronic Fund Transfers Agreement and Disclosure. If there are questions about this Application, Bank may contact Depositor at the address shown above, or
at the following telephone number: (877) 618-2648
   Depositor, and any authorized person(s) indicated above, have received a copy of the Electronic Fund Transfers Agreement and Disclosure and agree to be
bound by the terms and conditions contained therein, as they may be amended from time to time by Bank, and to pay all fees that may be assessed in connection
with the issuance, maintenance, and/or use of the Access Device(s). Depositor also authorizes Bank to check credit and employment history should it deem
necessary.

                                                                   Substitute Form W-9 Certifications

 Under penalties of perjury, 1              Arvest Applicant (s)                         18]   I am not subject to backup withholding because: (a) I am exempt from backup
 certify each of the following statements beside which an "X" appears:                   withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I
 18]           SSN (s) Provided                  is my correct taxpayer identification   am subject to backup withholding as a result of a failure to report all interest or
 number (or I am waiting for a number to be issued to me).                               dividends, or (c) the IRS has notified me that I am no longer subject to backup
                                                                                         withholding.
                                                                                         18]    I am a U.S. person (including a U.S. resident alien).


                                                                             Deposit Agreement
           In consideration of Bank's agreement to open this account, and other value received by each of us, the Depositor (whether one or more)
 agrees to the terms stated on this form and acknowledges receipt of this Deposit Agreement & Terms and Conditions and other applicable disclosures.
 In the event of a conflict or inconsistency between the terms of any separately receipted document and this Agreement, the term of the separately
 receipted document shall govern and control. Depositor also authorizes Bank to check Credit and Employment history should it deem necessary. The
 terms and conditions of all receipted documents, together with all terms and conditions stated hereof, are incorporated herein by this reference.




                                                                                                                                        OAONonAR.pdf 04/29/09 @ 15:04
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                                                                                           Terms and Conditions
GENERAL PROVISIONS - The following printed terms, and thosa on any separate agreements and disclosures {the terms and conditions of which have been incorporated herein), will govern the operation of this
account, unless clearly varied in writing or typing. 'We," "our," or "us" means the depository institution and "you" means the Depositor, or each Depositor, if more than one. This agreement includes your promise to
pay the charges for check orders and other charges as shown on the Schedule of Fees and Charges and your permission for us to deduct these charges, as we earn them, directly from the account balance. You
also agree to pay any additional reasonable charges we may impose for services you request which are not contemplated by this agreement. Each of you agrees to be jointly and severally liable for any account
deficit resulting from charges or overdrafts, together with the costs we incur to collect the deficit including, to the extent permitted by law, our reasonable attorneys' fees. We will not be liable for dishonor of your
checks or other items resulting from our deduction of any such charges and, to the extent permitted by law, collection costs and reasonable attorneys' fees. This agreement is governed by state and federal law and
regulations and applicable clearinghouse rules, except to the extent that this agreement can and does vary such rules or law.

OWNERSHIP OF ACCOUNT - The following provisions explain the rules applicable to this account depending on the form of ownership specified on the reverse side. Only the portion corresponding to the form of
ownership specified will apply. Individual Account- This account is owned by one person who does not create any rights to the account in any other person. Multiple Party Account -With Survivorship - This
account is owned in the name of two or more persons. Each owner intends that upon death the balance in the account, subject to any outstanding pledge to which we have consented, will belong to the survivor(s),
and will not be inherited by the heirs of the deceased owner or controlled by the deceased owner's will. If two or more owners survive, the survivors will own the account equally with survivorship, unless othe!Wise
required by applicable law. Multiple Party Account- No Survivorship- This account is owned by two or more persons, none of whom intend to create any right of survivorship in any other person. Revocable
(Totten) Trust or Pay-On-Death Account - This account is owned by one or more persons/trustees who create this account. If two or more owners/trustees create this account, it is a multiple party account with
survivorship and will not be inherited by the heirs of the deceased owner/trustee or controlled by the deceased owner's/trustee's will. The named beneficiary will acquire rights to the account only upon the death of
all owners/trustees, and provided the beneficiary is then alive. In the case of two or more surviving beneficiaries, the account will become a multiple party account with survivorship. The account owner(s)/trustee(s)
reserve(s) the right, at any time, to change beneficiaries, account type, and/or account ownership, and to withdraw all or part of the account balance. Custodian Under Uniform Transfers to Minors Act- The
funds deposited to this account, together with all earnings and additions, constitute an irrevocable gift to the named Minor, to be administered by the named Custodian under the Arkansas Uniform Transfers to
Minors Act, the terms and provisions of which are incorporated herein by reference. Fiduciary Account .. The named representative(s) exercise(s) control over these accounts for the benefit of third party(ies), and
the fiduciary relationship is established other than by this agreement. Organization Account- This account is owned by the named organization, which acts through its authorized representatives. The governing
body of the organization shall provide us with an authorization, in a form acceptable to us, telling us who is authorized to act in its behalf. We will honor this authorization until we actually receive written notice of a
change from the governing body. We are not responsible for any transaction conducted by a previously authorized representative if we have not actually received written notice from the governing body of the
organization that the representative is no longer authorized to transact on its behalf.


DEPOSITS ~ In receiving items for deposit or collection, we act only as your collecting agent and assume no responsibility beyond the exercise of ordinary care. We are not liable for default or negligence of our duly
selected correspondents, nor for losses in transit, and each correspondent is not liable except for its own negligence. Any items accepted for deposit (including items drawn "on us") will be given provisional credit
only until collection is final and in U.S. dollars. We are not responsible for any transactions (including any deposits made at an outside depository) until we actually record them. You agree to assume liability for any
endorsement that violates the standards prescribed by Federal law or regulation.

WITHDRAWALS ~ Unless otherwise indicated on the reverse side, any one of you who signs this agreement, as a Depositor or othetwise, may withdraw or transfer all or any part of the account balance at any time
on forms approved by us. Each of you authorizes each other person signing this agreement to endorse any item payable to you or your order for deposit to this account or any other transaction with us, until we
receive actual notice to the contrary. A check that will overdraw the available account balance will trigger a service charge, whether we pay the item or dishonor it. We may, at our option and in lieu of other charges
in connection with an overdraft, charge interest on the overdraft at a rate not to exceed the maximum legal rate until paid. You agree, immediately upon notice from us, to deposit funds sufficient to cover any
overdraft plus service charges. In connection with overdrafts, our determination of the account balance may be made at any time between presentment and our midnight deadline, and will only be made once. The
fact that we may honor withdrawal requests which overdraw the available account balance does not obligate us to do so. We will not be obligated to honor such requests unless required by law or by another
agreement we have with you. We reserve the right to disregard any information on the check other than the drawer's signature, the payee, the amount, and any magnetically-encoded information at the bottom of
the check. Except as provided under state law, unless previously agreed to by us in writing, we will not be liable for payment of any post-dated item, or for payment of any item bearing on its face any conditional
statement or restriction such as "Void after 90 days", "Void over $100", "Paid in full", or "Two signatures required". If we pay any such item, we may charge the full amount of that item to your account. We may
refuse any withdrawal or transfer request which is for an amount less than any minimum withdrawal requirement or which exceeds any frequency limitation. If you fail to observe these stated account limitations, we
may close this account. We will use the date a transaction is completed by us (and not the day you initiate it) to apply the frequency limitations. On interest-bearing accounts other than time deposits, we reserve the
right to require at least seven days' written notice before any withdrawal or transfer. Withdrawals from a time deposit prior to maturity or prior to the expiration at any notice period may be restricted or prohibited and,
if consented to by us, may be subject to a substantial penalty.

WHOLESALE WIRE AND ACH TRANSACTIONS - With respect to wire transfers or other transfers of funds not governed by the Electronic Funds Transfer Act, you agree to enter into and comply with our wire
transfer (if applicable) agreement and to comply with our security procedures and this section. We advise you that any receiving financial institution (including us) is entitled to rely on any account or bank number
you have provided even though that account or bank number may identify a party different from the person or entity you have described by name in any transfer order. Provisional Payment- Credit given by us to
you with respect to an automated clearing house credit or wholesale (wire) funds transfer entry is provisional until we receive final settlement for such entry through a Federal Reserve Bank. If we do not receive final
settlement, you are hereby notified and agree that we are entitled to a refund of the amount credited to this account in connection with such entry, and the party (the originator of the entry) making payment to you via
such entry shall not be deemed to have paid you the amount of such entry. Notice of Receipt- We will notify you of the receipt of payments in the periodic account statements we provide to you. You acknowledge
that we will not give next day notice to you of receipt of an automated clearing house or wholesale (wire) funds transfer item.

ELECTRONIC CHECK CONVERSION -You may authorize a merchant to use your check as a source of account information to initiate an electronic withdrawal from your account. The merchant uses the check
information, along with the transaction amount, to initiate an ACH debit transaction. The transaction is electronically transferred through the ACH system and the funds will be debited directly from your account and
deposited automatically into the merchant's account. After the information is gathered from the check, the merchant should mark it void and return it to you. You should sign and receive a receipt documenting the
transaction. A description of the transaction will appear on your monthly statement from us. Checks used in these types of transactions will not be returned with your statement. If you authorize a merchant to use
your check for this type of transaction, the transfer is governed by the Electronic Funds Transfer Act and subject to the Electronic Funds Transfer Agreement and Disclosure.

RE-PRESENTED CHECKS - A merchant may also re-present a check returned for insufficient or uncollected funds electronically. The merchant must provide notice to you, before accepting your check, that your
returned check may be collected electronically. Checks used in these types of transactions will not be returned with your statement. When a merchant re-presents a check electronically, that transaction is not
covered by the Electronic Funds Transfer Act. However, if the merchant charges you a fee as a result of the returned check and the fee is electronically debited from your account that transfer will be covered by the
Electronic Funds Transfer Act and subject to the Electronic Funds Transfer Agreement and Disclosure.


ACCOUNT TERMS, AMENDMENTS, AND TERMINATION - This account is subject to charges, interest rates, and minimum balance requirements established from time to time by us. We may change such
applicable charges, interest rates, and minimum balance requirements, or any other account terms, at any time, after such notice, if any, as is required by law, or if there is no specific requirement of law, then after
reasonable notice. Notice from us to any one of you is notice to all of you. This account relationship may be terminated by us at any time and without previous notice by mailing notice thereof and a check for the
account balance, if any, to you at your address as shown on our records on the date of mailing. This account may not be transferred or assigned without our written consent.

STOP PAYMENTS -Any one of you can order us to stop payment on a check drawn on your account. In order to place a stop payment order, you must inform us of the exact amount of the check, the number of
the check, the number of the account and the name of the payee; otherwise, we may not catch your stop order. We will not be responsible if the check in question is not described with reasonable certainty, and we
are entitled to a reasonable period of time after you give us a stop order to notify our employees. Oral stop payment requests are effective for fourteen (14) days unless confirmed by written order; written stop
payment orders are effective for six (6) months and may be renewed. There is a charge for each stop payment request. You agree to hold us harmless for all liability, expense, and cost we incur because we refuse
to pay the check, except for our failure to exercise ordinary care. If we recredit your account after paying a check over a valid and timely stop order, you agree to sign a statement describing the dispute with the
payee, to transfer to us all of your rights against the payee or other holder of the check, and to assist us in legal action taken against that person. No stop payment orders are allowed on cashier's checks, teller's
checks, or certified checks, except as provided or required by law.

STATEMENTS -If periodic statements are generated for this account, such statements will be mailed to you at the address shown on our records unless you otherwise instruct us. Examine your statement carefully
upon receipt and reconcile your account. Notify us promptly of any error or unauthorized signature or alteration. If you do not notify us of an unauthorized signature or alteration promptly, you cannot assert the
unauthorized signature or alteration against us if we suffered a loss by reason of your failure to do so. If you do not notify us of an unauthorized signature or alteration within a reasonable time (not to exceed 30
calendar days) after we send or make available to you your statement and (if applicable) accompanying items, you cannot assert any unauthorized signatures or alterations by the same wrongdoer on any items paid
by us after the reasonable time mentioned above elapses, but before we receive notice from you.


DIRECT DEPOSITS - If we deposit any amount in this account which should have been returned to the State or Federal Government for any reason, you authorize us to deduct the amount of our liability to the State
or Federal Government from this account or from any other account you have with us, without prior notice and at any time, except as prohibited by law. We may also use any other legal remedy to recover the
amount of our liability.

SET-OFF- By signing this form, for value received, you each grant to us a security interest in the account and in addition agree that we have the right {without prior notice and when permitted by law) to set-off the
funds in this account against any due and payable indebtedness owed to us now or in the future by any of you, either individually or jointly. We may set~off any debt owed to us by any one or more of you without
regard to the ownership or source of the funds in the account and without requirement that the debt be owed to us by all of you rather than only some of you. This right of set-off does not apply to this account to the
extent restricted or prohibited by law or contract. You agree to hold us harmless from any claim arising from exercise of our right of setoff.


DORMANT ACCOUNTS - We may, after a reasonable period of inactivity, consider your account dormant. Dormant accounts {if interest-bearing) will continue to eam interest, and will be subject to such
maintenance and service charges as may be shown on the Schedule of Fees and Charges. We will mail periodic statements for dormant accounts. We may define dormancy differently than as defined by
applicable state law.

ADDITIONAL ACCOUNT TERMS - This agreement is governed by the laws of the State of Arkansas. If you are opening an interest bearing account, you hereby acknowledge and accept the qualifications and/or
terms as set forth within the Truth in Savings Disclosure. If you are opening a time deposit account, this agreement is applicable to that account and any future book entry receipts of identical ownership.

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             ELECTRONIC FUND TRANSFERS
             AGREEMENT AND DISCLOSURE
                                                                   Agreement and Disclosure
     Depositor ("you" or "your") has requested that Financial Institution ("Financial Institution" "we" or "us") permit you to access an electronic funds transfer
system and (if applicable) that Financial Institution issue you an automated teller card, debit card, code or other device ("Access Device") to transact on your
account. By requesting, receiving, signing, using, authorizing another to use or otherwise accepting the Access Device (if applicable, and including any
replacement or substitute Access Device) or the electronic funds transfer system, you, and any authorized signers, agree to be bound by the following rules and
regulations:
    1. You are responsible and liable for all authorized transactions made through the use of the Access Device and for all authorized transactions made under
any preauthorized transfer. All such transactions are subject to all applicable agreements, rules and regulations of Financial Institution's checking accounts and
savings accounts for which Access Device use or preauthorized transfers are authorized, now or in the future, as said agreements, rules and regulations are
now in effect or as they may hereafter be amended, modified, or adopted.
     2. You authorize the Financial Institution to charge your checking account(s) and savings account(s) for all authorized transactions resulting from
the use of the Access Device or resulting from any preauthorized transfer and you assume all responsibility and liability for all such Access Device use
and preauthorized transfers. You may authorize a merchant or other payee to make a one-time electronic payment from your checking account using
information from your check to (i) pay for purchases (ii) pay bills.
   3. Financial Institution will assign you a "Personal Identification Number" (PIN) to enable you to be identified when using the Access Device. The Access
Device and the number are to be used as instructed and you agree not to disclose in any manner whatsoever the Personal Identification Number (PIN) to
anyone other than authorized users of the Access Device.
    4. Tell us AT ONCE if you believe your Access Device has been lost or stolen. Telephoning is the best way of keeping your possible losses down. You
could lose all the money in your account (plus your maximum overdraft line of credit, if any). If you tell us within two business days after you learn of the loss or
theft of your Access Device, you can lose no more than $50.00 if someone used your Access Device without your permission.
    If you do NOT tell us within 2 business days after you learn of the loss or theft of your Access Device, and we can prove we could have stopped someone
from using your Access Device without your permission if you had told us, you could lose as much as $500.00.
  Also, if your statement shows transfers that you did not make, tell us at once. If you do not tell us within 60 days after the statement was mailed to you, you
may not get back any money you lost after the 60 days if we can prove that we could have stopped someone from taking the money if you had told us in time.
   If a good reason such as a long trip or a hospital stay kept you from telling us, we will extend the time periods.
      5. If you believe your Access Device has been lost or stolen or that someone has transferred or may transfer money from your account without your
 permission, call: (866) 960-8367
 or write: Arvest Bank
            PO Box 2103
            Lowell, AR 72745
    6. Our business days are Monday through Friday. Holidays are not included.
    7. Transaction information.
   You may use your Access Device to:                                                  Your account is subject to the following transaction limitations,
   * Deposit Funds      * Withdraw Funds                                               which may restrict your ability to make electronic fund transfers:
   * Balance Inquiries   *Transfer Funds
   * Access Overdraft Protection                                                       Account limitations vary based on type of account accessed by
                                                                                       card.    See account disclosure (available upon request) for
   ******************************************************************
   You may not use your ATM/CheckCard for Internet Gambling                            details.
   Transactions. ATM I CheckCards that have not been used                              For point of sale transactions where no personal identification
   within the last 12 mos. or tied to accounts which have a zero                       number (PIN) is entered, transactions may be processed as Visa
   balance for 90 consecutive days will be deactivated. ATM                            Check Card transactions or they may be processed as PIN less
   and CheckCards tied to an account which becomes dormant                             transactions on the PULSE network. Merchants must provide you
   due to lack of activity will be deactivated.                                        with a clear way of choosing to make a Visa Check Card
                                                                                       transaction if they support this option. Please be advised that, if
   ******************************************************************                  you choose to use PULSE, different terms may apply from those
   When using your Arvest CheckCard you may perform pinned                             on transactions processed over the Visa network.          Certain
   based transactions (POS and ATM) up to                                              protections and rights applicable only to Visa Check Card
   $1 ,500.00 and signature purchase up to $2,500.00 per                               transactions will not apply to transactions processed on the
   business day.                                                                       PULSE network. For example, while Regulation E will apply to a
                                                                                       PULSE transaction, Visa's Zero Liability policy will not.




           You may withdraw up to $600.00 per business day (but not more than the funds available in the account for withdrawal) from an electronic
 terminal that accepts your Arvest ATM Card.                                        ·
     You may arrange with others in writing for preauthorized transfers, to or from your checking or savings accounts. For example, you may arrange with others
 for direct deposit into your account of payroll, Social Security, or pension benefit checks, or for the automatic payment from your account of utility bills, insurance
 premiums, or mortgage payments.
     8. You will be charged for each transfer/transaction as disclosed on the Schedule of Fees and Charges. In addition, when you use an automated teller
 machine not owned by us, you may be charged a fee by the automated teller machine operator or any network used (and you may be charged a fee for a
 balance inquiry even if you do not complete a fund transfer).



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    9. You can get a receipt at the time you make any transfer to or from your account using an electronic terminal that accepts your Access Device.
    If you have arranged with others to have direct deposits made to your account at least once every 60 days from the same person or company, you can call us
at the telephone number in Paragraph 5 to find out whether or not the deposit has been made.
      You will get a monthly account statement unless there are no transfers in a particular month. In any case, you will get an account statement at least
quarterly. These statements will show electronic funds transfers to or from your account. If you have a passbook account where the only possible electronic
funds transfers are preauthorized credits, and you bring your passbook to us, we will record any electronic deposits that were made to your account since the
last time you brought in your passbook.
    10. If you have authorized regular payments to be made out of your account, you can stop any of these payments. Here's how:
    Call us or write us at the number or address in Paragraph 5, in time for us to receive your request 3 business days or more before the payment is scheduled
to be made. If you call, we may also require you to put your request in writing and get it to us within 14 days after you call. We will charge you for each stop
payment you order, as disclosed on the Schedule of Fees and Charges.
     If these regular payments may vary in amount, the person you are going to pay will tell you, 10 days before each payment, when it will be made and how
much it will be. You may choose instead to get this notice only when the payment would differ by more than a certain amount from the previous payment, or
when the amount would fall outside certain limits that you set.
    If you order us to stop one of these payments, 3 business days or more before the transfer is scheduled, and we do not do so, we will be liable for your losses
or damages.
     11. We will disclose information to third parties about your account or the transfers you make:
          (1) Where it is necessary for completing transfers, or
          (2) In order to verify the existence and condition of your account for a third party, such as a credit bureau or merchant, or
          (3) In order to comply with government agency or court orders, or
          (4) If you give us your written permission.
      12. In Case Of Errors Or Questions About Your Electronic Transfers. Telephone us, write us or e-mail us at the number, address or e-mail address in
Paragraph 5 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or
receipt. We must hear from you no later than 60 days after we sent the FIRST statement on which the problem or error appeared.
           (1) Tell us your name and account number (if any).
           (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is in error or why you need
                 more information.
                 Tell us the dollar amount of the suspected error.
     If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days.
       We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time,
however, we may take up to 45 days to investigate your complaint or question. If we decide to do this, we will credit your account within 10 business days for
the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation. If we ask you to put your
complaint or question in writing and we do not receive it within 10 business days, we may not credit your account.
      For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint or question. For
new accounts, we may take up to 20 business days to credit your account for the amount you think is in error.
      We will tell you the results within three business days after completing our investigation. If we decide that there was no error, we will send you a written
explanation. You may ask for copies of the documents that we used in our investigation.
      13. If we do not complete a transfer to or from your account on time or in the correct amount according to our agreement with you, we will be liable for your
losses or damages. However, there are some exceptions. We will not be liable for instance:
           ( 1) If through no fault of ours, you do not have enough available funds in your account to make the transfer.
           (2) If the money in your account is subject to legal process or other encumbrances restricting the transfer.
           (3) If the automated teller machine where you are making the transfer does not have enough cash.
           (4) If circumstances beyond our control (such as fire or flood) prevent the transfer, despite reasonable precautions that we have taken.
           (5) If the terminal was not working properly and you knew about the breakdown when you started the transfer.
           (6) If incomplete or inaccurate information is forwarded by the United States Treasury or through an automated clearing house.
     14. A fee may be imposed by an automated teller machine operator (as defined under 15 USC§ 1693b(d)(3)(D)(i)) if you initiate a transfer from an automated
teller machine that is not operated by us (or the financial institution issuing the card or other means of access); and any national, regional or local network
utilized to effect the transaction.
      15. All deposits, payments and transfers made through the use of your Access Device or by a preauthorized transfer are subject to proof and verification by
 Financial Institution. Deposits made after our cutoff time will be credited the following business day.
     16. The Access Device at all times remains the property of Financial Institution and upon revocation of the Access Device you agree to surrender the Access
Device to Financial Institution or its agent upon demand.
       17. Transactions made in Foreign currency will be converted to U.S. Dollars. The Exchange rate between the transaction currency and the billing
 currency used for processing international transactions is: A rate selected by Visa from the range of rates available in wholesale currency markets for
the applicable central processing date, which rate may vary from the rate Visa itself receives, or the government mandated rate in effect for the
 applicable central processing date, in each instance, plus or minus any adjustment determined by the issuer.
       18. Financial Institution may amend, modify or rescind these rules and regulations at any time by mailing or delivering written notice of such amendment,
 modification or rescission to you at least 21 days prior to the effective date of any such change if the change would result in increased fees or charges,
 increased liability to you, fewer types of available electronic fund transfers, or stricter limitations on the frequency or dollar amount of transfers.
      Financial Institution may at its option mail or deliver written notice to you of any amendment, modification or rescission other than those described above but
without the requirement that notice be mailed or delivered at least 21 days prior to the effective date of any such change.
      Any amendment, modification or rescission made in the manner described above shall be binding upon you as though expressly agreed to by you. In the
 event that a written notice is mailed to you, it shall be mailed to your last known address as shown on Financial Institution's records.
        Notwithstanding the provisions of this paragraph, Financial Institution may terminate this agreement at any time in the event that Financial Institution
terminates your account(s).
      19. You agree that this Agreement and Disclosure shall be subject to and governed by all applicable state laws and any applicable laws of the United States.
     20. For your safety, please remember the following tips when you use any Automated Teller Machine, particularly after dark:
           ( 1) Park in or near a well-lighted area.
           (2) Observe the area for suspicious persons or activity, preferably from your car, ~ beginning your transaction. If you see anyone or
                 anything suspicious, you may wish to use another Automated Teller Machine or delay your transaction.
           (3) Have someone accompany you.
           (4) Pocket your cash quickly and count it later in a safe place. ~make a display of your cash.
           (5) Cancel your transaction, remove your card and leave the area immediately, even in the middle of a transaction, if you become concerned
                for your safety.
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                                                                                            Attachment

                                                  Office of the CQmptroller of the Currency
                                          Board of Governors of the Federal Reserve System
                                                    Federal Deposit Insurance Corporation
                                                     National Credit Union Administration


                     Joint Guidance on Overdraft Protection Programs

                                          February 18, 2005


The Office of the Comptroller of the Currency (CCC), Board of Governors of the Federal
Reserve System (Board), Federal Deposit Insurance Corporation (FDIC), and National
Credit Union Administration (NCUA), collectively '(the Agencies," are issuing this joint
guidance concerning a service offered by insured depository institutions that is
commonly referred to as "bounced-check protection" or "overdraft protection." This
credit service is sometimes offered on both consumer and small business transaction
accounts as an alternative to traditional ways of covering overdrafts. This joint guidance
is intended to assist insured depository institutions in the responsible disclosure and
administration of overdraft protection services, particularly those that are marketed to
consumers. 1

Introduction

To protect against account overdrafts, some consumers obtain an overdraft line of credit,
which is subject to the disclosure requirements of the Truth in Lending Act (TILA). If a
consumer does not have an overdraft line of credit, the institution may accommodate the
consumer and pay overdrafts on a discretionary, ad"hoc basis. Regardless of whether the
overdraft js paid, institutions typically have imposed a fee when an overdraft occurs,
often referred to as a nonsufficient funds or ~'NSF" fee. Over the years, this
accommodation has become automated by many institutions. Historically, institutions
have not promoted this accommodation. This approach has not raised significant
concerns.

More recently, some depository institutions have offered "overdraft protection" programs
that, unlike the discretionary accommodation traditionally provided to those lacking a
line of credit or other type of overdraft service (e.g., linked accounts)~ are marketed to
1
  Fedeml credit unions are already subject to certain regulatozy requirements governing the establishment
and maintenaDCC of overdmft prognuns. 12 CFR § 701.2l(c)(3). Tllis regulation requires a federal credit
union offering an overdraft program to adopt a written policy specifying the dollar amount of overdrafts
that the credit union will honor (per member and ovemll); Ute time limits for n member to either deposit
funds or obtain a loan to cover an overdmft; and the amount of the fee and interest mte, if any, tlutt the
credit muon wiii charge for honoring overorafts. This joint guidance supplements but does not change
these regulatory requirements for federal credit unions.
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consumers essentially as short-term credit facilities. These marketed programs typically
provide consumers with an express overdraft "limit" that applies to their accounts.

While the specific details of overdraft protection programs vary from institution to
institution, and also vary over time, those currently offered by institutions incorporate
some or all of the following characteristics:

• Institutions inform consumers that overdraft protection is a feature of their accounts
  and promote the use of the service. Institutions also may inform consumers of their
  aggregate dollar limit under the overdraft protection program.

•     Coverage is automatic for consumers who meet the institution's criteria (e.g., account
      has been open a certain number of days; deposits are made regularly). Typically, the
      institution performs no credit underwriting.

•     Overdrafts generally are paid up to the aggregate limit set by the institution for the
      specific class of accounts, typically $100 to $500.

• Many program disclosures state that payment of an overdraft is discretionary on the
  part of the institution, and may disclaim any legal obligation of the institution to pay
  any overdraft.

•     The service may extend to check transactions as well as other transactions, such as
      withdrawals at automated teller machines (ATMs), transactions using debit cards,
      pre-authodzed automatic debits from a consumer's account, telephone-initiated funds
      transfers, and on-line banking transactions. 2

•     A flat fee is charged each time the service is triggered and an overdraft item is paid.
      Commonly, a fee in the same amount would be charged even if the overdraft item
      was not paid. A daily fee also may apply for each day the account remains
      overdrawn.

•     Some institutions offer closed-end loans to consumers who do not bring their
      accounts to a positive balance within a specified time period. These repayment plans
      allow consumers to repay their overdrafts and fees in installmen1s.

Concerns

Aspects of the marketing, disclosure, and implementation of some overdraft protection
programs, intended essentially as short-term credit facilities, are of concern to the
Agencies. For example, some institutions have promoted this credit service in a manner
that leads consumers to believe that it is a line of credit by infonning consumers that their
account includes an overdraft protection limit of a specified dollar amount without clearly

1
    Tmnsactlon accounts at ct-edft unions are called sbat:e draft accounts. For purposes of this joint guidauce,
the use of the term "check'' includes share drafts.


                                                         2
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disclosing the terms and conditions of the service, including how fees reduce overdraft
protection doUar limits, and how the service differs from a line of credit.

In addition, some institutions have adopted marketing practices that appear to encourage
consumers to overdraw their accounts, such as by infonning consumers that the service
may be used to take an advance on their next paycheck, thereby potentially increasing the
institutions' credit exposure with little or no analysis of the consumer's creditworthiness.
These overdraft protection programs may be promoted in a manner that leads consumers
to believe that overdrafts will always be paid when, in reality, the institution reserves the
right not to pay some overdrafts. Some institutions may advertise accounts with
overdraft protection coverage as "free" accounts, and thereby lead consumers to believe
that there are no fees associated with the account or the overdraft protection program.

Furthennore, institutions may not clearly disclose that the program may cover instances
when consumers overdraw their accounts by means other than check, such as at ATMs
and point-of-sale (POS) terminals. Some institutions may include overdraft protection
amounts in the sum that they disclose as the consumer's account "balance" (for example,
at an ATM) without clearly distinguishing the funds that are available for withdrawal
without overdrawing the account. Where the institution knows that the transaction will
trigger an overdraft fee, such as at a proprietary ATM, institutions also may not alert the
consumer prior to the completion of the transaction to allow the consumer to cancel the
transaction before the fee is triggered.

Institutions should weigh carefully the risks presented by the programs including the
credit, legal, reputation, safety and soundness, and other risks. Further, institutions
should carefully review their programs to ensure that marketing and other
communications concerning the programs do not mislead consumers to believe that the
program is a traditional line of credit or that payment of overdrafts is guaranteed, do not
mislead consumers about their account balance or the costs and scope of the overdraft
protection offered. and do not encourage irresponsible consumer financial behavior that
potentially may increase risk to the institution.

Safety & Soundness Considerations

When overdrafts are paid, credit is extended. Overdraft protection programs may expose
an institution to more credit risk (e.g., higher delinquencies and losses) than overdraft
lines of credit and other traditional overdraft protection options to the extent these
programs lack individual account underwriting. All overdrafts, whether or not subject to
an overdraft protection program, are subject to the safety and soundness considerations
contained in this section.

Institutions providing overdraft protection programs should adopt written policies and
procedures adequate to address the credit, operation a~ and other risks associated with
these types of programs. Prudent risk management practices include the establishment of
express account eligibility standards and well-defined and properly documented dollar
limit decision criteria. Institutions also should monitor these accounts on an ongoing


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basis and be able to identify consumers who may represent an undue credit risk to the
institution. Overdraft protection programs should be administered and adjusted, as
needed, to ensure that credit risk remains in line with expectations. This may include,
where appropriate, disqualification of a consumer from future overdraft protection.
Reports sufficient to enable management to identify, measure, and manage overdraft
volume, profitability, and credit performance should be provided to management on a
regular basis.

Institutions also are expected to incorporate prudent risk management practices related to
account repayment and suspension of overdraft protection services. These include the
establishment of specific timeframes for when consumers must pay off their overdraft
balances. For example, there should be established procedures for the s1.1spension of
overdraft services when the account holder no longer meets the eligibility criteria (such
as when the account holder has declared bankruptcy or defaulted on another loan at the
bank) as well as for when there is a lack of repayment of an overdraft. In addition,
overdraft balances should generally be charged off when considered uncollectible, but no
later than 60 days from the date first overdrawn. 3 In some cases, an institution may allow
a consumer to cover an overdraft through an extended repayment plan when the
consumer is unable to bring the account to a positive balance within the required time
frames. The existence of the repayment plan, however, would not extend the charge-off
determination period beyond 60 days (or shorter period if applicable) as measured from
the date of the overdraft. Any payments received after the account is charged off (up to
the amount charged off against allowance) should be reported as a recovery.
Some overdrafts are rewritten as loan obligations in accordance with an institution's loan
policy and supported by a documented assessment of that consumer's ability to repay. In
those instances, the charge-offthneframes described ln the Federal Financial Institutions
Examination Council (FFIEC) Uniform Retail Credit Classification and Account
Management Policy would apply. 4

With respect to the reporting of income and loss recognition on overdraft protection
programs, institutions should follow generally accepted accounting principles (GAAP)
and the instructions for the Reports of Condition and Income (Call Report), and NCUA
5300 Call Report. Overdraft balances should be reported on regulatory reports as loans.
Accordingly, overdraft losses should be charged off against the allowance for loan and
lease losses. The Agencies expect all institutions to adopt rigorous loss estimation
processes to ensure that overdraft fee income is accurately measured. Such methods may
include providing loss allowances for uncollectible fees or, alternatively, only
recognizing that portion of earned fees estimated to be collectible.$ The procedures for
estimating an adequate allowance should be documented in accordance with the Policy
3
  Fedeml credit unions are required by regtdHUon to establish a time limit, not to exceed 4S calendar days,
for n member to eitlter deposit funds or obtain an ftPproved loan from the credit union to cover each
overdraft. 12 CFR § 701.2l(c)(3).
4
  For fedemlly insured credit unions, charge-off policy for booked loans is described in NCUA LeUcr to
Credit Unions No. 03-CU-01, "Loan Charge-off Guidance," dated January 2003.
5
  Institutions muy charge off uncollected overdraft fees against tlte allowance for loan nnd lease losses if
such fees are recorded with overdraft balances as loans and estimated credit losses on the fees nre provided
for in the aHowance for loan and lease losses.
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Statement on the Allowance for Loan and Lease Losses Methodologies and
Documentation for Banks and Savings Institutions. 6

If an institution advises account holders of the available amount of overdraft protection,
for example, when accounts are opened or on depositors' account statements or ATM
receipts, the institution should report the available amount of overdraft protection with
legally binding commitments for Call Report, and NCUA 5300 Call Report purposes.
These available amounts, therefore, should be reported as "unused commitments" in
regulatory reports.

The Agencies also expect proper risk~based capital treatment of outstanding overdrawn
balances and unused commitments. 7 Overdraft balances should be riskMweighted
according to the obligor. Under the federal banking agencies' risk~based capital
guidelines, the capital charge on the unused portion of commitments generally is based
on an off-balance sheet credit conversion factor and the risk weight appropriate to the
obligor. In genera[, these guidelines provide that the unused portion of a commitment is
subject to a zero percent credit conversion factor if the commitment has an original
maturity of one year or less, or a 50 percent credit conversion factor if the commitment
has an original maturity over one year. Under these guidelines, a zero percent conversion
factor also appJie.q to the unused portion of a 11 retail credit card line 11 or 11 related plan" if it
is unconditionally cancelable by the institution in accordance with applicable law. 8 The
phrase "related plans" in these guidelines includes overdraft checking plans. The
Agencies believe that the overdraft protection programs discussed in this joint guidance
fall within the meaning of "related plans" as a type of "overdraft checking plan" for the
purposes of the federal banking agencies' risk-based capital guidelines. Consequently,
overdraft protection programs that are unconditionatly cancelable by the institution in
accordance with applicable law would qualify for a zero percent credit conversion factor.

Institutions entering into overdraft protection contracts with third-party vendors must
conduct thorough due diligence reviews prior to signing a contract. The interagency
guidance contained in the November 2000 Risk Management of Outsourced Teclmology
Services outlines the Agencies' expectations for prudent practices in this area.

Legal Risks

Overdraft protection programs must comply with all applicable federal laws and
regulations, some of which are outlined below. State laws also may be applicable,
including usury and criminal laws, and laws on unfair or deceptive acts or practices. It is
important that institutions have their overdraft protection programs reviewed by counsel
6
 Issued by the Board, FDIC, ace, and Office of Thrift SnpervisiQll. TI1e NCUA provided simiL'lr
guidance to credit unions in Intetpretive Rllling and Polley S1atement 02-3, "Allowance for Loan andLense
Losses Methodologies and Documentation for Federally Insured Credit Unions," 67 FR. 37445, May 29,
2002.
7
  Federally insured credit unious sltonld calculate rlsk·based net wortb. in accordance with tlle rules
contained in 12 CFR Part 702.
8
  See 12 CFR Part 3, Appendi." A, Section 3 (b)(S) (OCC); 12 CFR. Part 208, Appendix A, Section ill.D.5
  (Board); and 12 CFR Part 325, Appendb: A, Section ll.D.S (FDIC).


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for compliance with ali applicable laws prior to implementation. Further, although the
guidance below outlines federal laws and regulations as of the date this joint guidance is
published, applicable laws and regulations are subject to amendment. Accordingly,
institutions should monitor applicable laws and regulations for revisions and to ensure
that their overdraft protection programs are fully compliant.

Federal Trade Commission Act I Advertising Rules
Section 5 of the Federal Trade Commission Act (FTC Act) prohibits unfair or deceptive
acts or practices. 9 The banking agencies enforce this section pursuant to their authority
in section 8 of the Federal Deposit Insurance Act, 12 U.S. C. § 1818. 10 An act or practice
is unfair if it causes or is likely to cause substantial injury to consumers that is not
reasonably avoidable by consumers themselves and not outweighed by countervailing
benefits to consumers or to competition. An act or practice is deceptive if, in general, it is
a representation, omission, or practice that is likely to mislead a consumer acting
reasonably under the circumstances, and the representation, omission, or practice is
material.

In addition, the NCUA has promulgated similar rules that prohibit federally insured credit
unions from using advertisements or other representations that are inaccurate or
misrepresent the services or contracts offered. 11 These regulations are broad enough to
prohibit federally insured credit unions from making any false representations to the
public regarding their deposit accounts.

Overdraft protection programs may raise issues under either the FTC Act or, in
connection with federally insured credit unions. the NCUA' s advertising rules, depending
upon how the programs are marketed and implemented. To avoid engaging in deceptive.
inaccurate, misrepresentative, or unfair practice..\ institutions should closely review all
aspects of their overdraft protection programs, especially any materials that inform
consumers about the programs.

Truth in Lending Act
TILA and Regulation Z require creditors to give cost disclosures for extensions of
consumer credit.12 TILA and the regulation apply to creditors that regularly extend
consumer credit that is subject to a finance charge or is payable by written agreement in
more than four installments. 13

Under Regulation Z, fees for paying overdraft items currently are not considered finance
charges if the institution has not agreed in wdting to pay overdrafts. 14 Even where the

9
   15 u.s.c. § 45.
10
   ,Stt OCC Advisory Letter 2002-3 (Marcil 2002); and joint Board and FDIC Guidance on Unfnir or
Deceptive Acts or Practices by State·Chartered Banks (MIII'Ch 11, 2004).
11
    12 CFR § 740,2.
12
    15 U.S. C.§§ 1601 ~· TILA Is implemented by RegulalionZ, 12 CFR Part 226.
13
   ~IS U.S.C. § 1602(t) and 12 CFR226.2(a)(l7) . .Institutions should be aware that wl1etlter a written
a~ment exists ls a matter of state law. ~. 12 CFR § 226.5.
1 See 12 CFR 226.4(c)(3). T.mdftionallines of credit, which genemJ.ly are subject to a written agreement,
do not fall under this exception.
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institution agrees in writing to pay overdrafts as part of the deposit account agreement,
fees assessed against a transaction account for overdraft protection services are finance
charges only to the extent the fees ex:ceed the charges imposed for paying or returning
overdrafts on a similar transaction account that does not have overdraft protection.

Some financial institutions also offer overdraft repayment loans to consumers who arc
unable to repay their overdrafts and bring their accounts to a positive balance within a
specified time period. u These closed-end loans will trigger Regulation Z disclosures, for
example, if the loan is payable by written agreement in more than four installments.
Regulation Z will also be triggered where S\tch closed-end loans are subject to a finance
charge. Hi

Equal Credit Opportunity Act
Under the Equal Credit Opportunity Act (ECOA) and Regulation B, creditors are
prohibited from discriminating against an applicant on a prohibited basis in any aspect of
a credit transaction. 17 This prohibition applies to overdraft protection programs. Thus,
steering or targeting certain consumers on a prohibited basis for overdraft protection
programs while offering other consumers overdraft lines of credit or other more favorable
credit products or overdraft services, will raise concerns under the ECOA.

In addition to the general prohibition against discrimination, the ECOA and Regulation B
contain specific rules concerning procedures and notices for credit denials and other
adverse action. Regulation B defines the tenn "adverse action," and generally requires a
creditor who takes adverse action to send a notice to the consumer providing, among
other things, the reasons for the adverse action. 18 Some actions taken by creditors under
overdraft protection programs might constitute adverse action but would not require
notice to the consumer if the credit is deemed to be "incidental credit" as defined in
Regulation B. "Incidental credit" includes consumer credit that is not subject to a finance
charge, is not payable by agreement in more than four installments, and is not made
pursuant to the terms of a credit card account. 19 Overdraft protection programs that are
not covered by TILA would generally qualify as incidental credlt under Regulation B.



Truth in Saving~ Act
Under the Truth in Savings Act ('TISA), deposit account disclosures must include the
amount of any fee that may be imposed in connection with the account and the conditions


15
   For fedeml   credit unions, this thna period may notcx"tccd45 calendar days. t2 CFR § 701.2l(c)(3).
16
   ~ 12 CFR226.4.
17
   15 U.S.C. §§ 169 L~· The ECOA is Implemented by Regulation B, 12 CFR Part 202. The ECOA
prohibits discrimination on the basis of mce, color, religion, national origin, sox, marital status, age
(provided the applicant has lhe capaclly to contract), the fact that all or part of the applicant's income
derives from a public assistance progmm, and Ute fact tlmt tlw applicant has in good faith exercised any
right under 1he Consmner Credit Protection Act.
1a ~ 12 CFR §§ 201.2(c) and 9.
19
   ~ 12 CFR § 202.3(c).


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under which the fee may be imposed.20 In addition, institutions must give advance
notice to affected consumers of any change in a term that was required to be disclosed if
the change may reduce the annual percentage yield or adversely affect the consumer.

When overdraft protection services are added to an existing deposit account, advance
notice to the account holder may be required, for example if the fee for the service
exceeds the fee for accounts that do not have the service. 2 t In addition, TISA prohibits
institutions from making any advertisement, announcement, or solicitation relating to a
deposit account that is inaccurate or misleading or that misrepresents their deposit
contracts.

Since these automated and marketed overdraft protection programs did not exist when
most of the implementing regulations were issued, the regulations may be reevaluated.

Electronic Fund Transfer Act
The Electronic Fund Transfer Act (EFTA) and Regulation E require an institution to
provide consumers with account-opening disclosures and to send a periodic statement for
each monthly cycle in which an electronic fund transfer (EFT) has occurred and at least
quarterly if no transfer has occurred. 22 If, under an overdraft protection program, a
consumer could overdraw an account by means of an ATM withdrawal or POS debit card
transaction, both are EFTs subject to EFTA and Regulation E. AB such, periodic
statements must be readily understandable and accurate regarding debits made, current
balances, and fees charged. Tenninal receipts also must be readily understandable and
accurate regarding the amount of the transfer. Moreover, readily understandable and
accurate statements and receipts will help reduce the number of alleged errors that the
institution must investigate under Regulation E, which c~ be time-consuming and costly
to institutions.

Best Practices

Clear disclosures and explanations to consumers of the operation, costs, and limitations
of an overdraft protection program and appropriate management oversight of the program
are fundamental to enabling responsible use of overdraft protection. Such disclosures
and oversight can also minimize potential consumer confusion and complaints. foster
good customer relations, and reduce credit, legal, and other potential risks to the
institution. Institutions that establish overdraft protection programs should, as applicable,
take into consideration the f9tlowing best practices, many of which have been
recommended or implemented by financial institutions and others, as well as practices
that may otherwise be required by applicable law. While the Agencies are concerned
about promoted overdraft protection programs, the best practices may also be useful for

20
   12 U.S.C. §§ 4301 ~· TISA is implemented by Regulation DD at 12 CFR Part 230 for banks and
savings associations, and by NCUA's TJSA regulation at 12 CFR Part 707 for federally insured credit
unions.
11
   An advance change in tenns notice would not be requiied if the constuuer's account disclosures stated
that their overdraft check may or may not be paid and the same fee would apply.
n 15 U.S.C. §§ 1693 !ll..m}, TI1e EFI'A is implemented by Regnlatlon E, 12 CFR Part 205.


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other methods of covering overdrafts. These best practices currently observed in or
recommended by the industry include:

Marketing and Communications with Consumers

•   Avoid promotlng poor account management. Institutions should not market the
    program in a matmer that encourages routine or intentional overdrafts. Institutions
    should instead present the program as a customer service that may cover inadvertent
    consumer overdrafts.

•   Fairly represent overdraft protection programs and alternatives. When
    informing consumers about an overdraft protection program, inform consumers
    generally of other overdraft setvices and credit products, if any. that are available at
    the institution and how the terms, including fees, for these services and products
    differ. Identify for consumers the consequences of extensively using the overdraft
    protection program.

•   Train stAff to explain program features and other choices. Train customer seiVice
    or consumer complaint processing staff to explain their overdraft protection
    program's features, costs, and tenns, including how to opt out of the service. Staff
    also should be able to explain other available overdraft products offered by the
    institution and how consumers may qualify for them.

•   Clearly explain discretionru·y nature of program. Ifpayment of an overdraft is
    discretionary, make this clear. Institutions should not represent that the payment of
    overdrafts is guaranteed or assured if the institution retains discretion not to pay an
    overdraft.

•   Distinguish overdraft protection services from nrree" account features.
    Institutions should not promote "free" accounts and overdraft protection programs in
    the same advertisement in a manner that suggests the overdraft protection program is
    free of charges.

•   Oearly disclose progJ'fl.m fees. In communications about overdraft protection
    programs, clearly disclose the dollar amount of the fee for each overdraft and any
    interest rate or other fees that may apply. For example, rather than merely stating that
    the institution's standard NSF fee will apply, institutions should restate the dollar
    amount of any applicable fee or interest charge.

•   Clarify tbnt fees count ngninst the disclosed overdraft p1·otection dolhu- limit.
    Consumers should be alerted that the fees charged for covering overdrafts, as well as
    the amount of the overdraft item, will be subtracted from any overdraft protection
    limit disclosed.

•   Demonstrate when multiple fees will be chaa·ged. If promoting an overdraft
    protection program, clearly disclose, where applicable, that more than one overdraft


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    fee may be charged against the account per day, depending on the number of checks
    presented on, and other withdrawals made from, the consumer's account.

• Explain impact of transaction clearing policies. Clearly explain to consumers that
  transactions may not be processed in the order in which they occurred, and that the
  order in which transactions are received by the institution and processed can affect
  the total amount of overdraft fees incurred by the consumer.

•   Illustrate the type of transactions covered. Clearly disclose that overdraft fees may
    be imposed on transactions such as ATM withdrawals, debit card transactions,
    preauthorized automatic debits, telephone-initiated transfers or other electronic
    transfers, if applicable, to avoid implying that check transactions are the only
    transactions covered.

Program Features and Operation

•   Provide election or opt-out of set·vice. Obtain affirmative consent of consumers to
    receive overdraft protection. Alternatively, where overdraft protection is
    automatically provided, permit consumers to "opt out" of the overdraft program and
    provide a clear consumer disclosure of this option.

•   Alert consumers before a transaction triggers any fees, When consumers attempt
    to withdraw or transfer funds made available through an overdraft protection
    program, provide a specific consumer notice, where feasible, that completing the
    withdrawal may trigger the overdraft fees (for example, it presently may be feasible at
    a branch teller window). This notice should be presented in a manner that petmits
    consumers to cancel the attempted withdrawal or transfer after receiving the notice.
    If this is not feasible, then post notices (e.g., on proprietary ATMs) explaining that
    transactions may be approved that overdraw the a.ccount and fees may be incurred.
    Institutions should consider making access to the overdraft protection program
    unavailable through means other than check transactions, if feasible.

•   Prominently distinguish balances from overdraft protection funds availability.
    When disclosing a single balance for an account by any means, institutions should not
    include overdraft protection funds in 1hat account balance. The disclosure should
    instead represent the consumer•s own funds available without the overdraft protection
    funds included. If more than one balance is provided, separately (and prominently)
    identify the balance without the inclusion of overdraft protection.

•   Promptly notify consumers of overdraft protection pa·ogt•am usage encb time
    used. Promptly notify consumers when overdraft protection has been accessed, for
    example, by sending a notice to consumers the day the overdraft protection program
    has been accessed. The notification should identify the date of the transaction, the
    type of transaction, the overdraft amount, the fee associated with the overdraft, the
    amount necessary to return the account to a positive balance, the amount oftime
    consumers have to return their accounts to a positive balance, and the consequences


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     of not returning the account to a positive balance within the given timeframe. Notify
     consumers if the institution terminates or suspends the consumer's access to the
     service, for example, if the consumer is no longer in good standing.

 •   Consldet· daily limits on the consumer's costs. Consider imposing a cap on
     consumers• potential daily costs from the overdraft program. For example, consider
     limiting daily costs from the program by providing a numerical limit on the total
     overdraft transactions that will be subject to a fee per day or by providing a dollar
     limit on the total fees that will be imposed per day.

•    Monitot• overdraft pt·otection program usage. Monitor excessive consumer usage,
     which may indicate a need for alternative credit arrangements or other services, and
     infonn consumers of these available options.

• Fairly report program usage. Institutions should not report negative information to
  consumer reporting agencies when the overdrafts are paid under the terms of
  overdraft protection programs that have been promoted by the institutions.


This concludes the text of the final Joint Guidance ou Overdraft Protection Programs.




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      .   UtilitY~" ~:~rt be ~ted               rn the 4rop 11ot toc.ted rn the doot or the Clt1 omce.
          1.-.P~t.:
          Paym•I\U MCtlVed afUI' th1 J51h Oft!~. MOAthtrt Co11${dj!r«d he..
                    . of 1.25.00 WU1 bt ~dad to •Jt.Y bJlf not paid by tht I5th.
          Alallt oharat                                                            .
          ~                                                                                   .
          Utnltl• wJJl bo dlseon111Cllkl' lt~t r.. not ~ved tq thllaat dt,y of the month.
          ~-" l'tt .. $25.00.



                                                                                                  •••••
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                                                                                            ~;.




      To acldte5s customer need!, vendors tod.t,y supply what Is now wen recosnlzed
      by coMumera: an Jnvotce, similar tow 0n1t above, which oftei-t one payment
      if paid by • certatn date, and • hl.aher amount U'pald by a,t.ter date. In.deftn.
      tng w~ eustomm paid late tees. ont ut.Wty •t¥df round that a llgruftann sea·
      rnent did 10 aven though the.y have.a\lftJclont flnandi111111oun:es,J

     Bankers may want to consider the way they commun!c:ate with theltctQtamtf$
     ~overdrawn accounts. Compare th!l sample uUJity bW refettnced
      above with the method ftnandll JnltiluUon, commonly ~ to communicate
      with their cuscomera. Non·bank compantes typkiJb' Worin the cob.swnet ot
                    0!
      thelr 1\\t.U\od$ ~ theli aoc:ount fn the event the conaumtr does not
      meaL theft obUgatrons on time, and they conununlcate the fee assodated with
      thSa. They do not acuv•ly.enttce customers to pay tbeJr bills Jate, but they
      eommuntc:ate bow the aclCtlunt Will be bandied should the consumer pay late,
      Contrast thiS with the commurue&tfon~~ent out by tbe bank. When an Item .Is
    . presented to an aecount W1tb Jn11uftldent fundi to pay the check, the ~nk sen·
     eraUy aend:s out a tem notlcfllltl~leattns that the c~tomer did not have tho
     tunds 111 thtlr accoul'lt to cover tiM: dleck, The communJc.atfon usually ind!·
     catet thu, although ·the bank. may have pa.ld me chKk. the Pta~Uce of f'alUn&
     below the mlnJmum balance b1 the account Ia nat tontethlng the banx encour·
     SJE!$;


     The New~ of Ch.eokbaa .Aaeo~k &n4 Ou.atomer
     Qorlm&1Ulloatl=

    · ~ new payment opda!lf have flourtshe:d over tbe ~t savetal yean, the meth~
      ods and means in which consumen we cbeddns ac:ccunt4 have also changed.
      Rath11r than haVlr)g o~ .;becb flow through their chec:klng account, con·
      swnm now have "mar\Y wa.)IIJ to acce.ss thetr r~. such ·ulnturnet accw,
      ATM access, etc.                                                       ·

    A by-product or mvma: multiple dellvery ch.Jnnels Is that coNumers now noed
    better; more spedt!c communJcatkln ~rn ~ lnltftut1o.ns rtgatding use or
    th~ IU:COW'lts. FJnana.J lru!Ututlon.s .$hould be. awate that In teprd to c:on-
    sumua' attitudes toward late paymenri, tbe environment f.l c~ns. ~~
    need to be able to cJurly Uticulate polf~fl $0 that consumers can mak$



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                                             ...   t•       •   on <II•   W   o.-   I   U   ~· .o4 • .,..,.   I   I   h,.. . . . . . t   "   o ..,..,.......,.,.,. ..... ~ofr   0 I -··-•   ...... -. t
                                                        0
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                                          !nf'ormed declltont as well as undentand the bank~ policy ttg~tdinS NSF fees
                                          when a customer mistakenly o~ws.



                                          Many bankers beUove thU a tw$J101l5e !hat dlrcoun~aes ovetdrafcs Js the accepted
                                          course or actlotl; They baBeve that overdtarung a cheeklns acc:Qunt Is simply
                                          •wtons-• Th&y belave that banks should activelY, diacOW'IJt ovenf.rafta and thfi;Y
                                          vf8w NSF feel as "punitive" tea that are dlai&ned to d:l5counJ.SG me ~~ ·

                                         dtha bankei"' beUeve tha\ rnoa\ of their customers are gQQd custonim that Will
                                         ultimately deat up tbW account$, end that. paylns an 1n$4fllelent Item Is better
                                         tor the customer ·than mumtns Jt. Whde not 'encauragJna overdtarU, these ·
                                         ban"kefl bellfi'Ve that they are actu~ btlplns tbeJt customers avoid other fees
                                         and prOVIdJnJ them a valuaj)le tervfce when they pay ovetdnwn items•.

                                         Wh!Gll vtew Ia appl'OJI~atef Cb> more pqoi•eq, whloh v!ew !e
                                                  .
                                         app1'0})1'fa&a for J'01U' baukf'
                                                                                                     .
                                         ln many cues~ these two Yiewa aw not mutually exclum•.. Banlctra do not
                                         \\!&nt to actively enco~p overdtilfu, but they do want fo provide good cus-
                                         tomer servtee wbenever and wbea:wer J)tudtmt.


                                         BOW lPOBKAl·JZED OVJIIU)BAJ'T
                                         PBOTBOTlON PBOGBA~ WOU
                                                                                    .                                          .
                                         The fit.u queatfon you mf&ht ask .b, 11How do these psogreJn$ work?· An                   ~xam­
                                         pla may help lllllittate tne pwgra.ms' under~ concepts.

                                               John Sml.th I$ a cu&tomer at ABC Bank. John Ills dowrJ to pay hiJ b.flis on the
                                               9th oftM month. H•&ets to hll credlt uw bin and be notlces that the pay-
                                               me.at lf due on tiff 15th. or /If csn walt and pay 1£ on the bt of tlht following
                                               month, mwblch cs.st he wJU be~ a $38late ?e.. He doddes to watt and
                                               psy the c:mllt carr1 bllJ late bfeaUH he has an unexpecttd ent~lJtincY ~
                                               fhat htnHd.t tCI pay Jmn)ecf/at&y. John un®~ -~the deal• with the credlt
                                               CSfd t:Ompany -. they havt commuatcatild chis t!l him with every btU. Jonn




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v~,,.,   .... ?>•V•   - .....   ......   *' •• , ... • ····---· • ..... •   ~   •       •   0   WI       ••   ...
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                                                 undmmndf. that ht wtU lncur thf latt let, but bt spite of thiS. he makes tfut
                                                 cfecl$fon to defer tba paytnent.      . .
                                                I~ Srn'r $Uti how ABC Bank WOilld swrAQY hand.ltlt- Jf M won to preunt
                                               ·M NSF dfKk. 111 tht put hf ll.u prennttd ehec.ks Ulat were paid wh,ntwldf
                                                were not avatlablt, but ht hal also pttWJIN $()mt that we.rw zwtw'tled. The
                                              · Nnlc~ conurwnteaUonlll botb 41ases wu Vll'Y short and did not Worm John
                                                bow Uity made tbtlr dlelslon. As a tf$l.l.ft. John has no c:omfon at aU u to .how
                                                thf banlc D2lgbt llandl• the~ .check lit pmu2ts.
                                                   .            .
                                                ABC Balik dtcldt.s to begin o6ertns a fonlW ovetdtalt pro,..am. l1ltou8h a
                                             · varle(y ol ~IQU«t, the bank COIDJIIUAit.ata clw.(y wltb }ohn ami sanuaJJy
                                               .mak•lllm awam ()[ ,rhelr declslon-IJWcln& process. WbM 1o1m ls nut faced
                                              .wltb mafcllW thf dttdlkm ol'whethtt or JlQt fo pay the aedlt cazd bW, he now
                                               «Jnnldudls optiOIIS. He C411 conttnut to pay tbs bi.U lalt • h& 1w on oceasJon
                                                                                         so
                                               In the past. Q1' be c:an ahead ancf Wtltl t1le diedc to tht cmllt ellnf company
                                               today and bavefOJne comfort that tllt hnk will~ pay lt. He would pay
                                               the banlc $20 (fl'alr NSF tee) Vi. paylnjJ the -credJt ~ company $36.



                                     By eommunl~;;atfng with CU$tomtn, buW Chit oJfet farmaltZed overdraft pro·
                                     tetttQn programs achieve me •Jntormsd Consumer Btrect." helping par«dpants
                                     to make an. Wormed decltfoo en how to. utilize thfs setvlce, sbould the            need
                                     we. Becaua John is atvon some comfort on how W. check wW ba handled,
                                     he 4hftia a tee fl:orn. the 'cn!dtt                         . paya less tn fees.
                                                                      . cud company to the bank and
                                   Just hOw doss a ~mk COJ'tiJllWllette wlth 1 cuJtomer? This lsan area where
                                   bankers should proc:Md wt~ elution. AnoM'I!commendtd m•thod of c:ommu·
                                   nkatinS Wltb-custQmer~la to market the service •umstvely. Afew banks put
                                   up bJUboald&. take ou~ rad.lo ads, and do ft&Ulat montbl)l itltement atull'ert.
                                   Bu\ u tbt Oftlt4 or Ule Comptroll.er of the Cvm~ncy polnted out In Interpretive
                                   Letter 914 (11.914), tbla could have the appe;nnce that the.bank fa attemptlns ·
                                   to entice custoJneQ to everdnw' thtdr ~untl, m act!vfty that •t beat ia
                                   •fi:QWne(l upon• by consumer SfOUpa, and at WOI'St co\lld be constdmd 11n
                                   unsafe P"ctli:o. At a typical bank. 6096 to-7096 of the customer base never (or
                                 · rarely) present an .lnlutflclent Jtem, and marln\Una to them is w11sttfuJ•


                                   .... ,,
.... _   ..... "".... ""'"-·•4••• .... ,. ..........................   ~.,.   ......
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     Hqwevet, an einclent, fafr, and conslatent ptoc:.ess c:outcs also be comlcfutcl an
     opportunity for cltar commullfcaUQn to cuatOmen - • way f.O enhmce a cus• ·
     tomu ~eiatJonshlp. Customen ate often ~fUsed by the NSF dec:fsJon·makins
     proceu Jn those biU'Ikl that do l\ot have a tormatrzed ptOgrarn, IInce there b
     ontn mconsl.ttency Jn pa,ymont l)f NSP Jtema. Banu that otrer a tonnall%ed
     overdl'llt pi"'JW11 have the C)ppQnunlty to e,r.bUsh eomtatent aurdel.tn-. for
     PllYfn8 NSF ltema anCf co :lnfonn and edu"-tt customens who usa the &eMce.


     WHY AU JIOBB .u.:mma& CONSJDBIUN'G .
     i'blniALlzBD OVBRDB.U"l' PBOTJIOTIONf ·

    As of.]~;nuary 2003. the Co~ F~tntton of America eatJmated that m~;~tll
    than 1,000 baitk$tn the Unitt.d States use tom'lltllr.ed ovtrdraft protection pro-
    ~ md that number Is steadlly poWlnJ.4 Wb:t are more bankers conaJder-
    lna th~ pro~a?

    1. A New De&llfan or Custtirae.- Senktt
    One Qt the mOJt commpn compfalntll by c:onst.Unor grcupslbout overdraft pro-
    tection ~ces Is that banks with these propms ue provldJni )lbtl:t• cuttomer
    Htvke•. Som. consumer &ro\!P8 equaUt the J?AY!na or oyerdratrs wle.b ~paydi\Y•
    lending. Thay belfm ~t peylrig an overdraft ftem II equivalent to taklng
    ·~or an tmJnfotmed Ctlltolllet.

    Howevett this seems to be an ovenfmplU!unon ot • au.tch broader iSsue. ·
                                            or
    Thfnk about it trom iha peripeclive ynur curtOm~ra .: would they conskfer IC
    better c:uitomer sarv.fct If the bank paid their check or "'hltned Jt?
                                       ..
    Bank eJnploy&es also benetlt from a eonslrtent overdraft pxogram chat offers
    thtJG aufdance on how and when to cover owtdrillft fttmt,' SinC4t ~hey can now
    define theh' ovatdtaft pol!cy and eJCplain It to th~J c;ustomer, they can oft'et be~·
    ter cwtomer servtte. Dellnttd overdraft program guidelines ellm1natt banker
    •ntd customer confusion and. lead to bnproved cll4!tonter setvlce.

    Z. A 'Way co AY«d DituhuloatCNY J!n.ct$*
    Orga~ overdraft p,ratectiOn FOanm-. tbnnlllze a p~ that has bten han· ·




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      d1ed Wonnally and In a die<:tlflonuy IM1'1ner 1n the past, rnaldnslt more equt·
      table and consistent.JJJ Jeneral. banics bave hlstotfcal.ly paid itmn5 for some
      customers and riot paid th8m tor othe.ns. baaed mostly on ft variety of lkctota,
      lncludlnJ account hbtory and the relatfonahJps the customer Ia$ with the per-
      sonal bankela or CSJb· worldrra in the branch. By wlns overdn.ft ptottet!On
      50Aware and more efftdent automaCion, the banks that lmpltm&nt 1hast FO-
      p-ami 3t'ate that they are attemptlrJi to treat all   customtta more faJrl~
                                                                     ..
      3.   l'nflft~ OpportunJ~
      When banks rormaUze thefr programs and ciJ.sdos.c \hem, they learn that some
      ct.iUomm And tbls to be a valuable. servl.ce. 'nuiiSe cuatomers. choose to wtUe a
      Check a rew day$ betore a depol1t and~ the NSF Cte r.ther thart ~alate IH ·
      to tbe c.heck·ndplent. they d\OOse the bulk optlon becauae tilt c:oau IP1li aener-
    . ally lower than ·those Imposed by the merchant or· other payee, .and It pments
      leas of a haule. Ftnanclal fnstitutlOnl that tonnalizil the!r proc:eas 11nd dlsclosa It
      to tuatomers allow tbeir customtnt to make 10tonned declslaM !'or thi!Jt15elves,


     CJOJIIIIO:N OONCBBNS

     !anketls.med to addrus anumber or concern& before.they 4edde to tmpleO\ent
     such a formal ovect'fraA  Proanffl·
                                   Que.stf.on$ mse<~'b)l U1e media and con·
     auma111 group5 .nM have spawned a ~ltie'af Ill c:oncerru.               ·


                                                     .           .                    .
     Media and CO'DSUJJ\$" groups have voiced conecttN that some ovetdralt protec·
     uon programs are by naturt deceptive md dealanecJ to take advantage or con..
     aurnen. Otlief m~ reports d.tlcwl tae~t In whlcb ban1<s have allowed cus~
                                            or
     tomert to overdrlw with tbtlt ATM debl~ card, ai eithat tl_1e ATM or tha
     point of Hie. without nott.ftcauon that they wem ovenfrawms the. account or
     that they would be f;haated a let. (Reg DD niClUireS tee df.sclosu.re at accounl
     opentns and on pertDdlc statemtnts.)

     ft Is Interesting to note that tn most overdraft discussions the media and con-
     swnar groups ol\tn sioas over fndMdull conswntr resporislbtll~ Banks only
     charge these ree.s co consumers tbat ptesant NSF 1tem1. Ovumawln&ll a d1$·


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     ~onaz:y ~ llld is complettly avofdlble, much Ulut the               dec.rafon to~ a
     fomgn ATM. ln both ease.. the HMu provtded 1s merely responding to c:ut·
     tomet nted and bebavfor,                                                            ·

     Although W. ultStMte mponsJbJltty Ilea wJth dtt consumer, sltuatlons may
     arile Jn Wbll:h a CUlStOmft beooti:IM 0'9tr9Xttnde9 and 1s unablt to pay back tbG
    .ovetdtawn amo!Jnt and tubUquent teea. Aa cuatomet service organlzatlons,
     bank$ should be aware of theM llW.1lonl and wotk With the customer to
     resolve the Js&ue. Any pmpam alloWfn& .:htonlc over~ that put.th$ cus·
     tomer in dlffkult ~clal cltt:Umstenc:o may seam to take edvanrage 'of a cus-
    tomer and. or course, should be avoJded. Ban}(f $houJd oonurwn!C!lte clevly
     and tr.quenUy wtth their customers reprdmg the ltatua of the.lr acco.unt.bai·
    ane-. · The bank may then off'et the av~ratended ~iner 1 repaytneJ'!t plan~ .
    perhaps at a low Interest rate, or reduced NSF rm to ~p tM customer'ntcover
    ffom the altu1lion. The dteddng account t;eulft bo left open and avatla'blt, as
    Ions 'N the custo?'ler f!!eetl their ~ent obtJsatiOlll.

     Ap~a.ruM ~ 'VlolaUJI6 (:red.ltl.&-.a •

     ar;, recent artfcle cltargdd IJ}at banks ere .:,kl.mna• mdft Jaws when they pay
    ovetdr*(ts. Themsontng applied wu i:hat an ov~ .ls a sh~tt·te~ loan·
    and the NSF f• Jmposed 11 Jnterest. Some- eonsumer &dvocateti have stated that
    oVerdraf'll fll'lOUnt to loans With \lery hfsh,lnttre~~t fl.*• 11ometJmes exceeding· ·
    1,00096.                                                                  .

    'l'lwM alJJ,aatior\1 fgno~& the rac.t thllt ritan,y banks alJaiBt the same reo whether
    the ~tomb paid or r.~tumtd, ~nd ~ II no dlft'eren~ for aventrawms the
            M~nt apec:lfka1Jy, at moat banb CUitOmen do not pay any additional
   • accoupt,
    fee tor overdrawing thelr accounts- tbay are on\)1 llblf8ed a file fur preuntfnS ·
    an fnsumctenlltim and tba bank subsequently handling tbe uem.

    Credit laws appJ,y when a b8tlk extends c:tedlt to a conaumk. According to tbe
    'Iiufh tn Lendlns: Act, 15 USC 1601 et S4JCI· ('I'ILA) and IU implementing
    Federal Reserve Reaulatton ~ 12 CPR Pan 226, •cntdlt means the rr~ to
    defer payment ot 1 debt or to Jncut debt and defer tu paymanr. • The bank
    does nor grant .• •rfaht• ta <Mrdnw; ft fa a dlsmlUonary acHvlf\Y on the p1111 of



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     the benk. Credit lawa have not appUed to bank overdtafk fees In the past. and
     It Ia unlDctJy that they wUl tn lhe r"!ture.

     A:& stated ln the American Bank~ bociaUon 1etttr from. ABA C.ha.lrman-:Blect
     Ken Ferge.son, dattd Man:h 21. 2003, •Overdraft protection hu been ttound
     for along Ume. but has evolwd over tlHt yean. Under automated bounce pw ..
     1~on aylleml that 1118 now &aJnfns in poputm~ banks dJaOlole that they may
     pay o:vercftafts up to alfmJt-uauaJly between $100 end $500, dtpendlns on
     the cuatomer. The teatute Is c:ypt~y .avallabie to .U those e~lo tG optn an
     account. Th.ete 11 no tndltworthlness rest as there Is t01: an overdraft lbla. or
     ctedJt. Aflat fft is charged tor the overdrih, regatdiUlS ot the amount."

     Several bankers havuhown hesftancy toward overdra4 prot~don proaums
     because o£ potendal cllanp$ to Regutauoit Z ('1\'uth in Lend1J1g), .which would
                                                                            .
     cause an overdraft to be considered a loan and nlated chatges to be lnU~t for
     APR pu~. Por d~de., under the tenn.s of RtJUlatlnn Z. retJU].ator$ have
     not generally c:onsfdated overdraft fees to. be a loan when tilt Jtem ts paid. Pnor
     hfatory with othar~sulaHons hauhown that the P~oral Re.setve ~­
     them o~ alte.r caretu~· con&SderaUon.

    Moreovlll\ any chan&e In (t~UiaUqn woutd Ukely {lnpact the. ~ent ot aU NSF
    lterps, notjWJt thole items at bank$ With fOrmal overdraft pJ'OSI'AmS •. lt would
    ·be a vaty detrimental change to co-nstml4rs tor the reautatol'$ to alter ~gula­
     Uona fn IUCll a matmef that banks could efhcuyW' M Jonaer pay any over-
     ~.                                                        .                .



    It may eppeat uponlnltlal rev.lew that .,...yh'lg overdraft$ would Jncreue the
    overail riak lev,a ora bank. After an, thf cuatomer ta awrca11y not requ.Jrsd to
    contpJetlt lt.ly type of applteaUon tor the·service. Most b8nka do not au~ect
    customers to a formal underwtlt:lnj process prior to e,UoWfnB the customer co
    ova.rdntw their account. ThAt bank t,yptcally does not obtain Cl'Adit scores•




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      Ptudent ban:kert m'-"f approach an -overdra.ft p1'0fltll11 as they would any othet
      new product ~ service Ol'tefinl. Arlalytla of tht particular PJ'081'1Ul'l must bt
      ped'otmed -Mth· the bank'!t overell J1lk tolar~ in m.lnd. A~tablelevels ot
      Nk rnuat be detarmtnea prio.r to tnttrln& any prop.rn and monitored tfter
      tmpleme.ntaHon.

      Moat bankers whO have bnplerilented a formal ovudraft propam Jndlcate that
      chatge-~fts da, In tact, fncreue. ~~ver, dtey also Sndfeate that the overall
      level ot dlatao-o.lfls fa wfth!J) ilccept:able levels or rtalc and the benefttt ot the
      ovmlraft prcg_ram outwe.lgh the Increase tn charge-otra•



                              .
     .I..DDUSSUlG TD.lUIGUL.A.TOl\Y COHCBRNS

      ReJU]ato~J have expressed conterns wben m!ewins oV&rdntrt protection pro-
     grarn~,   utd 1!11 ~ consldaring thls service shuuld taM care to ad~
     ·them. Some Of the main tssues are delineated ~n OCC lntelflnttlve Letter 9J4
      and l'urthar de1lnad In ~e ADA letaer dated MJrdl ?1, 2003, lcom Ktn
      F•rpson, ABA ChaJrman·Blect. IL914 outlJnes tbNe ~ otreaularory con·
      etma With mpect to Otllt patt:Jculaf o\'erdtaft proteetfon progtaxn. They
      Jncb.tdct: 1) .Com~nce INUtlr 2) Su~lsofy Co~11ms, ~nd 3} PoUcy Ltaues,
      We NC:Ommend ltu~ 11.914 11\ depth and reviewtnJ tba concerns of the
      OCC W1th Iepl eowuel, However, there ate bulc steps banke" can take to be
      proactive In add~ these ftJUiatory conc:ems.                  ·

     Dtlble the J'IOQM SptcUfaJJy.
     For many years banks bavt pafcl chec:b on 1n wonslstent basf.a, often Urnes
     iacklnJ.universal aufdtl!nes ,that employees could follow. Often, ~11D did not
     have a fbtmal pOltcy In place to JUlde binkt.rs on how an<t wh11n to cover an
     ovenftaft. Daflntng tbe proeesa speclflc:t.1ly wUlllelp to ldl&Viate compltance-
    'cartcems. Due to .sJmple human mtunt, wbtn pl}'Ing or tetumfng an overdraft
     uatng only JM"Onal dia<nuon u a auidt. tncona!stenctes wm mutt. By apply·
     Jng co~•nt criteria a«:rrS$ the board, the ent!fe process should become con·
     stat.ently tm~tamented with all customers.




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           v.. Detaned Repotdq ud '!Ncldq.                 .
           As p4rt o1 the bank\ tonnat pt0Ce$S, the bank lhould use d&~talled t6porttna and
           ttaclclnJ of~~~ !n dlt ovetd.rln protecdon ptogr~Jn. This Ww. ensure that
           aU levels of Jl11J11&ttnent nmaltl apprlMd ot the propm, ltld that J)C?ttnUel
           lbW$ or the service em be spotted and lddteised appropdattly. lntlucUns
           belnS removecl from the p~.
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           menn that aound Wte absolutt eommltqlenh! to pay ovetdrlftls. (e.a., •never
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          tatloN or ~Ions that are likely to mJsl.nd teasonlble c:onsumeQ. Csre.Miy
          word en the bank\ cuatomer commuJtlcaUons ~ explain the overdraft process
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          toe tbllt II now ~Je. Instead, establ!sh sound, CUitonteMeWfce respome·
          Oriented pollc1tJ torcuarom• who ov~w their-accounts. Above aU, do not
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          sbauld also provide ~proprltte dlaclolules lt ib& ATM. and teJlllt wJncfow if ·
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         ·ue the Same P6. tor 8oeh ~lind JeturnfD.I,
          One of the •tests" otrered .In IL9l4 fM dawmlnJ.ni ff an overdnft fh !S a
          ftMnce cJJ.qe or not, as stated urtder Reaulatton Z. a whether en NSF fee j, the
          same reaardltu o! whether • check fs paJd or mumed. By cbaralol thv n.ma
          fee fn ,both fn.st.aJ:~W, tM fee fs tmiJke1y to be ~nsfdered a •finance charge.•



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      uuu. JUreetlw If* ~t 'l'echril1[11...                                     .
      B~kl that monitor cisatomer bebavtor    em contect those custozneq who exhil>Jt
      eKCW~ve ot abuavo usage a:nd tntorm them otball}( pl'Oifi.Q'II that can help
      them manaa• their account balantlel. 'nils practfce ahoukf fdentU'y cwtomers
      who show a 114rlous liCk of account n'lll1qlment so that ban'k management can
      malui ded.siOnl o1i the cuatointtJ eoniJtn.red invOlvemant 1n t~e bank's over-
      draft proSt~M•




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     to cettal.n "~ practtces• wU1 help tnS1.IfG ~ t.n'overdraft ptoteedon ptogtam
     ¥Ike& the tJgbt opproac:h. Tht xnam'best. practtcu that all barlkers thould know
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     dtaftl, IUch u Jbl• ol uHit and automatic traufan. Cltar c:ommunka:
     tton ~UJ S'Vt customers au the ~~~on·thoY.need to UJ~t an Info""'~
     declllon. Let yo\U' customers know &M.t the bank hu·other. potentiallY less
     •xpanslve ways to handJa ovudtafcs.

     a. Do proactlv.., offer- •                                    a
                                 '"opt-out"~ the ccutomen choke. Some
     CISitOmen may not want to ha~e thefr items paid, and tbey sho1.4ld be atven tllts
     dlolc:e. By aendSns ucb q11aW'led tu1totnar a ~~~~With an optaout clauae
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     3. Do monitor eu~tonwo ·~~ . - doD"t let CI.Lito.._.,. •buM tbe ~
     Utlln. $0ltware tools to generate detaUed teports that wlllaUow the bank ~
     track c:ustomen who may be abuatng the J)rivtlege, Consldltl' copta.ctfng and
     notlfy111J frequent overdraft.enl ol the cott ot thua Hrvlces, and eupe11t a meet•
     log Wltl1 bank offlc:m to cxm~Jde.r. odw alternattves tQ cwerdraftir1g. ·




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           wbo hllvt not presented NSPa to bflabl presantlna tl'lem.

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         : catfng wltb C\ldtomers, tt Is impottant to \1M clear, ~ ahd accutate Jan.
           guage that does not attempt to ovetsoll the euatQmer. Keep .In mlnd that tb!s
           servlce .Is dllereUo~ and th!lre!ort avGid pnnni$6S or words that JOund ~e
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                                          3. Don't auow euatoJMn tiM oppclrlwlfty co·~ Ewldl that vdU put
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                                          tmuacUou that willi'Mellt In u Mwdid mtu em tilt accou.at.
                                          If bank«~ make 1M decf.afon to allow ~toD!.Ill to ovenfraw their account bal-
                                          ance at the A'l'M, ihrouah POS, ot t~Uer windo-w. Jt teehnicaUy feuible the bank
                                          tboulfi Jntorm the customer at the tsme oftbo tramactJon lhat they will itlcur
                                          an additional tee tor overdrawing under the c:ltl:unUt1nces•. If msa 1s not tecJt..
                                          ntcaUy leuJbte. f!le bank should place notlc:M at ~~ ATM oi hav&- a polfey fn
                                          place tba~ dON not allow the custcnntr to overdraw the acc:ount at the ATM.

                                           Bank.s 1hould not mfalead tl1elr customer. u to the actual balance in theJr
                                          account ind they 4hou!d cl11d,Y pr&Nnt balatlces to th&tr eustomtf. bi a roimat
                                          that flwy to u~de.rat:and. Fur ~pl•. ff the GVardreft     umu   tv includ$d Jn an
                                           "'avaUabre bal$nce,• Uw ttkt on. th11 ATM screen an4 fecdpt 1hould apedftcally
                                          ~te that tilt balance l.liclndes the ovrialt Um.lt. MIStakes ato wily .made lf
                                          thta Information Ia not tommunlcatec! to the customer c:Ioarlf at the tmte or the
                                          trAMaetton. Addltfonally, ban~ should consider waMns any Wtlal NSF f'ees
                                          for customers wM Inadvertently overdrtw their eheokfns account due to any
                                          type or confualort at eleetl"'n!a channels.

                                          4. »oa·t·l._,. out tffecttq rbk ~· Clven the iosa bfstoty of bank
                                          ovfldtaft pmsraa-. bank mMagenumt should dovelop reuoll8bJe loss t8cognl•
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         CONCL1JDING BlDUBKS

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        elttler the ptattlce or the mefhods or overdrett m'Vlcu. Jn aordng thtouS)l th4t
        lac:te and opinlons, hfarQry ttn be an excelltnt &Uf4•· In the ~y 20, 1961.
                       of
        iaaue Bu.tlnel$ \\Vek, ih. headUne read, "Wlth tM Fed 1howms no aJs;M of
        l!llln& itl nsq~ttons, banks are doubUna the wisdom of otremt~ etrttftcatel of
        dtpollL •• Belleve It or not, tNa $tettment was Jtlade COnceminJ Msotl$b!t
        CDsl'

       Bven the mos( ~astrlan or ban' products tod•y. eotdftcat.s or deposjt, wm
       once the aultJec;t or much dtbate and c:onctm. Consumer ~often aN ahead
       of rt~gulatol)' management ind pubUc poll~ Such may be tb& caM wtth for-
       mal~ ovetdralt ptOgrant¥. Banlws, however, must ~1 col'IS!der all
       sfdet orthe forrn.s11r.ed o\ter.:Sraft option t() Dtake the best deCWon for tbefr
       banks.




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                                     APPBNDIX                       .
                                   . Letiel' to Bank CJWa t:rom the ABA O.halnna.n·.lllleot.

                                     Datt: March 2J, 2003
                                     Th: Batik CECa
                                     Frem: Ken Fel'pSOn. ABA Chafnni:n--Elect


                                    H\Uldredl of banks are oft'erlna automated haunt>« tirotectton on checklrlJ
                                    account$. a; new \leta.fcn ot hanket'S• tradlc!ON.l practlce oi paying overdrafts.
                                    Mall)' Mher "banks m c:onalderina u. 1btt'a why rm wtiUna. As AB~
                                   ·Chairman-~~ a tQmmurut;y banker, rm h•arJnS a lot ot concern about
                                   ~product ltld th• c:o~ncca of ofrerlng ~ promotfn~ tr.

                                    AU bankem want a fain'etum. But bmkera al$0 havf a ~~biUty to treat
                                    c:ustomera tilrlf. and ptoYJd~ them with cter, co.nsplcuaus dficloaures. One
                                   1\\lslNdln,g pmU. ot quw.Ionabte ad ca., d&~lroy your cWJtomera' trust fn a:
                                   heanbelit, an a'Nfi:IDy hfgh pr:ICe to pa.y. A3, one complJan« offl"r wrote about
                                   paying Interest ell fnvettablt balan~e.s, "'t:. C~,tte.· It\ legal, Don't do ttl• When
                                   put under a: spoWpt, that ptactlc:e led Consms to enact ~ 'lh;tth·Jr;t·Sa\l!nBS
                                   Act and lhtft:'ed to wu' Reg Dl). That ~,Ple could~ • prrnaw orcomtng
                                   ittractJons if.bankm don't look carefuUy tHtrore they leap into thfa.

                                   Consuntii'S like o\'erdralt protection• It can save them f8t~,tmed-che<:k fees
                                   rnnn cred!lot1 or mmhant.s lllld avoid tarnllblns dlelt crtdJt ratfna fn crecUr
                                   bwuu.s and databuu. But SQme oi thtf4 produ.ott have drawn fire from the
                                   reauJatota and 1n the media-and lltlpUon won' be tar behind, as cwtomer.s
                                   start coiiiPlalnlnS about unfa!t treatment.

                                   Overdraft protection bas beln around tot •lona timo. but hal .volvttd over the
                                   years. Undw a\ltomatad bounce protadlon syatema tbat aro now gahtlng Sn
                                   populllrlty, banks dbd.ose that they llll.Y pay overdtaf'tf up to a llmlt-usually
                                   betWeen '$100 and $600, depen~a on th\t custenner. The f'oature !s typically
                                   avttlable to all tbnse allsJble to open 1n account. There lS no crcdttwotthlnes5
                                   tat as thw fa Cor an ovetdraft Une of ~t. A tlat tee Js charged lor the over·
                                   draft, ~ass of the amoUJJt,




....... 4'"" _._"' •   .....   ~   •••   •   ...... -.......   ' ...   0   ••   ,   •
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                                  hfore you offfl' a bounce protection Proctuc;t, deckfe.lt you'd want to defend
                                  the one you're eol\atdenns in your loea1 newspaptr or to your teplator. To
                                  protect youraelf and )'0\n' instltutfcn's reputation, you sh~uld, at a·mJnJmum:

                                    • Disc!ost. disclost, ~toM. DJsclose costa end term~ in the apment fully
                                      anti c:on.spicuoutl~ lnducUna treatn'lent of debit c:41d overdrah And
                                      disclose .chlqea promtnen~ fn ata~nts.

                                    'lhlct cielll that the~ Is n~·P~S to pay eheokl, 8'\l"en it the
                                      conswnet r.neeta the crlteda ror. ~a overdraft. ·

                                    •l>c» not ancoW'Bia o~ tn your muketJng Jnltwls, advett~afns or
                                      eo.mm~nlt.aUons. Some C"UStOmers hive bounced chad<$ because, on
                                      balance lnqulri.es, thtlir btnlr. &Qd.t the JmClunt of their overdraft protdon ·
                                      to their true balance, Jeadlna them to belicrve' tMy have more tlum they do.
                                      89me bank mesaages encourage them to use the product Bl\)'tlme.

                                   " MonJto.r the account for frequent      u.s•
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                                     understand how to u.s& tt approptJate.fy.

                              AU of these etfottnna.y still net be. a.nousJ1. Don~ wefully. automated ~unce
                              p.rorettion ptctgiams can be good f'oryour cuitorners and f'n' the banks. B~o~t
                              without uuderstandfna how your- ptCJIUl WJll bo se~n andJudged tit your
                              ~1.1~ In thtl8&nciea and In 'c:ourt,lt ~ould becoMe your wont nlsht-
                              mare. It you olfer.One, proceed With cauHon and-~t·Sur9 you dolt ~t•
                                                                                   .
                              Ii yo~ haw any queatlorts or concern.s, pleu\t contact ABA Regulatory DJM:tor
                              Jim Mcl.aughllll. at ~-800-BANKBRS.




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      Protection; How Banlt$ 'lbnl Rubber Into Goki by !ltuctna Coi\Sllmlra to Wttt• Bad
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       CVB 21&, 13 CFR·226, $B.J CONS, Sepitmbef 2001•.




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                 EXHIBIT "E"
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                                Overdraft Explosion:
               Bank fees for overdrafts increase 35% in two years


                                                           Leslie Parrish
                                          Center for Responsible Lending

                                                                         October 6, 2009




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                                                        ~ RESPONSIBLE
                                                        e;               LENDING
                                             www.responsiblelending.org
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              Summary Findings:
              Finding   1:   Over 50 million Americans overdrew their checking account at [east once over a
                             12.-month period, with 27 million accountholders Incurring five or more overdraft
                             or non-sufficient funds (NSF) fees.

              Finding   2;   Banks and credit unions collected nearly $24 billion in overdraft fees in 2008.

              Finding 3: Overdraft fee income for banks and credit unions rose 35 percent from
                         2006 to 2008.




          OVERVIEW

                t is now standard practice for most banks and credit unions
             I  to automatically enroll checking account customers in their
             most expensive overdraft loan program----ol\e in which the                Overdraft fees are
             financial institution generally approves transactions when the            most typically triggered
             accountholder does not have enough funds to cover them, in
             return fot a fee of around $34 per overdraft.                             not by checks, but by
                                                                                       debit card transactions
             Banks contend that this type of overdraft protection is a service to      and ATM withdrawals that
             their customets, helping them to avoid bouncing checks. They
             further claim that the alternative would be to return the check           could easily be denied for
             unpaid, with the customer incurring an NSF fee from the bank              no fee.
             and, potentially, a bad check fee from a merchant or a late fee
             from a landlord or utility company.

             However, the reality is fat different than the scenario painted by banks. Overdraft fees are most
             typically triggered not by checks, but by debit card transactions and ATM withdrawals that
             could easily be denied for no fee, 1 In addition, common banking practices-such as re,orderlng
             transactions from largest to smallest-increase the number of overdraft fees paid by customers rather
             than helping them avoid charges. 2 Instit\l.tlons also generally place no meanlngfull!m!ts on how
             many fees a customer can incur within a glven period.-' ·Finally, because ·banks generally charge a
             fiXed overdraft fee regardless of the size of the transaction covered, the fee bears no relationship to
             the actual cost to the institution of covering the overdraft. In fact, previous CRL te$earch found
             that consumers paid about $2 in fees for every $1 in credit extended if they overdrew their account
             using a debit card at a checkout counter. 4

             These practices are especially alarming given that institutions autamatlcally enroll consumets
             into this type of program, even when lower-cost forms of overdraft protection-such as a formal
             overdraft ltne of credit or a link to a savings account-are usually available. Several CRL liUrveys
             have found that a11 overwhelming majority of respondents, including those who have recently
             overdrawn their account, want a choice about what-if any-form of overdraft program to enroll in
             and prefer that debit card overdrafts not be covered.5


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I.       Overdraft Explosion: .Bank fees ror overdrafts Increase 35% In two years
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     Thls report quantifies the number of Americans that have overdrawn their account and are
     potentially affected by the abusive practices typical of today's overdraft loan programs. It also
     updates previous CRL estimates of the resulting costs incurred by consumers. To this end, we
     utilize results from a recent FDIC study to estimate the number of Americana whose accounts
     become overdrawn in a given year, with a focltS on those accountholders with five or more Incidents
     per year. In addition, we also '-;lpdate our 2006 estimate of the total co.~t consumers pay annually in
     overdraft fees and evaluate the dramatic increase in fees over a two-year period.


FINDINGS

Finding 1: Over so million Americans overdrew their checldng account at least once over
a 12-month period, with 27 million accountholders Incurring five or more overdraft or
non-sufficient funds (NSF) fees.

    A recent survey of 39 FDICregulated banks holdin.g 6.5 million accounts found that about one of
    every four checking accounts became overdrawn at some point over a twelve-month period, and
    about one out of seven checkin.g accounts was overdrawn five or more times.6

    If we assume one checking account per adult (excluding those who lack a bank account entirely),
    an estimated 51 million. Americans overdrew their account-and were therefore assessed either
    an overdraft or NSF fee-over the past 12 months. Perhaps more troubli11g, over half of those--
    27 million Americans in all-incurred five or more overdraft incidents during the same time period.
    To put this number into perspective, more Americans overdrew their account at least five times than
    Uve in the st:ate of Texas. A majority of accountholders in this category significantly exceeded five
    overdrafts; nearly two-thirds of these 27 million had ten or more incidents within a one-year period.
    Table 1 and Figure 1 below detail our calculations.

Flgure 1: Share oftotat checl<lng accounts that become overdrawn during a year and total accountholders affected


                                                                                    60                                                                                                                                                       30%
                                                                            ~ 50
                                                                            .Q                                                                                                                                                               25%
                                                                                                                                                                                                                                                           VI

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                                                                            .~                                                                                                                                                               10% ct
                                                                                                                                                                                                                                                           ;:,

                                                                            ~
                                                                            ~                                                                                                                                                                5%

                                                                                                                                                                                                                                             0%
                                                                                                                At least onc:e                         Five or more                           Tenor more
         Adults Impacted (In millions) •                                                                                    51                                    27                                      18

         Share of accounts -                                                                                            25.7%                                  13.9%                                   8.9%

                                                                                                                          Number of times overdrawn annually

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      Table 1: Number of adults affected by overdrawn accounts annually

       (A) Total population age 18 and over*                                                    2.25   million
       (B) Population without    a bank account*"                                                28 mlltlon
       (C) Total adults with a bank account (C,..A-8)                                           197 million
       (D) Adults Impacted by at least one overdraft lnctdent (C*25.7%)                          51 million
       (E) Adu(ts Impacted by at \east five overdraft Incidents (C"13.9%)                        27 million
       (F) Adults Impacted by ten or more overdraft fncldents (C*S.g%)                           18 million
      *2oo8 Current Population Survey, u.s. Census Bureau
      **The FDIC'S Alliance for Economic Inclusion estimates that as many as 28 million people In the United States are
      unbanked.

          (n previous research, CRL found that consumers who repeatedly overdraw their account are more
          likely to be low-Income, single, non-white, and renters.1 In lt:s analysis of the income and age of
          accountholders with overdrawn accounts, the FDIC found that lower-income groups and young
          adults age 18--25 were the most likely to incur an overdraft or NSF fee. 8

      Ffndlng 2: Banl<s and credit unions col\ected nearly $24 blltlon in overdraft fees In 2008.

          The!ie millions of Americans who overdraw their accounts represent an increasingly significant
          source of fee income for financial institutions. Banks !lnd credit unlons are not requlted to directly
          report thelt total income related to overdraft and NSF fees1 however, the FDIC found that nearly
          three-quarters of it.'l banks' service charge Income was the result of overdraft and NSP fees. 9 Using
          this breakdown, we elitimate that hanks and credit unions assessed their customers $34.3 billion
          in fees when their accounts became overdrawn in 2008. We estimate that 69 percent of this
          $34.3 billion, or $23.7 billion, Is comprised of overdraft fees alone.10

      Table a: Total overdraft fees collected by banks and credit unions
       (A) Service charge Income (Banks)*                                                                   $39.5 billion
       (B) Fee inc.ome (Credit Unions)"*                                                                    $6.8 billion
       (C) Total service charge/fee Income, aU banks and credit unions (A+B)                                $46.3 billion
       (D) Estimated share of (B) and (C) generated by overdraft and NSF fees**"             74%
       (E) Esllmated total overdraft and NSF fees collected (C*O)                                           $34·3 billion
       (F) Estimated share of {E) attributable to overdraft fees alone                       69%
       (G) Estimated total overdraft fees alone (E*F)                                                       $23.7 bll!lon

      *Servke ~;harge Income as reported In FDIC call report data for 2.008.
      **Fee Income (the equivalent of service charge income for credit unions) as reported by the National Credit Union
      Administration for 2008,
      ***Based on findings from the 2008 FDIC Study of Bank Overdraft: Programs.


        These fees are likely to be even higher in 2009. One leading analyst of bank and credit union fees
        projects that $38.5 billion tn overdraft and NSF fees will be collected this year. u If our current
        assumptions hold, overdraft loan fees wlll comprise nearly $27 blllion of this total amount,n


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l:j   OVerdraft Explosion: Bank fees for overdrafts Increase 35% In two years
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Finding 3: Overdraft fee income for banks and credit unions rose 35 percent from                                                                                                     2006
to 2008.
     Our new estimate that consumers paid $23.7 billion in overdraft fees !n 2008 represents a 35 percent
     increase since our last estimate in 2006. In absolute terms, overdraft fees increased $6.2 billion in
     two yeaiS-part of a continuing trend that we have observed since our first estimate in 2004, and
     whkh we expect to continue through 2009.

Figura 2: Increase In overdraft fees over time


          $30


          $25

          $20
   'Ul'
   c:
  ~ $15
   JS
   .g
          $10
                               $10.3

          $5


          $0
                                2004                               2006                              l008                          2009 (projected)



     Rising overdraft fees have several underlying sources. First, many financial institutions have
     increased the fee per overdraft incident and are more frequently charging additional fees lf a
     customer's account remains overdrawn for several days. u In addition, some banks no longer
     employ caps on the total fees incurred per day, heightening the cban"ces that someone with
     multiple transactions will pay hundreds of dollm'S In fees before even knowing their account
     is oveturawn.1•

    Second, consumers are uslng debit cards-the
    most common trigger of overdrafts-both more                                                                  ~1T]he           wide adoption of debit
    frequently than in the past and for increasingly                                                             cards had two multiplicative
    small transaction amounts. Today, nearly                                                                     effects: Jt Increased the
    three-quarters of checking account customers                                                                 posslbltlty of a mistake
    have a debit catd, with active card users averaging
    17 debit card transactions per month. ts & a                                                                 that would take an account
    result, debit card usage has exceeded credlt card                                                            negative, and it also Increased
    usage since 2005, 1<1 At the same time, the average                                                          the number of overdraft events
    debit card transaction site has decreased by about                                                           while the customer was
    four percent per year, with more than a quarter                                                              unaware he had crossed
    of all debit card transactions now conducted for                                                             the line."
    purchases of less than $10. 17 As an analyst ftom
    the Flr$t Manhattan Consulting Group has                                                                     -analyst, First Manhattan
                                                                                                                 Consulting Group
    noted, '~the wide adoption of debit cards had

"'' .,..,. _ _ ,. .. _.,.,~-•••--.,..,.·~-----·-·-~•· ..- - ... -.--..--._.•   •~   ~-   .... - • • • - · - · - · - · - - - · - - · - ,.._ ..   _.,._~-   •·- .. -   .....--·--·•-·• .. •-w••n--• o •--   ••~ ..,......, • .,_
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         two multiplicative effects: it increased the possibility of a mistake that would take an account
         negative, and it also increased the number of overdmft events while the customer was unaware he
         had crossed the line."'~

         As a t•esult of these trends, servlce charge Income, of which overdraft and NSF fees play an
         increasingly large patt, has steadily increased.

     Table 3: Change In overdraft fees collected, :aoo6-2oo8

                                                                                     2006                      2008
      (A) Setvfce charge/fee Income                                              $42.2 blltfon             $46.3 bi!Uon
      (B) Share of (A) generated by overdraft and NSF fees                           6o%                       74%
      (C) Totat overdraft and NSF fees collected                                 $25.3 billion             $34·3 billion
      (0) Share of (C) attributable to overdraft fees alone                          69%                       69%
      Total attributable to overdraft fees alone                                 $17.5 btulon              $2.3.7 billion


      DISCUSSION

         Ovecdraft fees eat into the already-strained budgets of working families, with Americans now
         spending far more on overdraft fees annually than they do on common household items such as
         books, cereal or postage stamps. Americans spend about the same amount on overdraft fees as they
         do on fresh vegetables every year, and only a little less than they do on fresh fruit. 19

     Figur$ 3: Annual fees resulting from overdrafts, as compared to common household expenditures


                                                                                                   $27.8




                  Books        Cereal     Postage        fresh         Ovardr~ft        Fresh      Major
                                                       vegetables         hies           fruit   apptlances
                                             Annual expendltur~s (ln bliHons)



        Overdraft fees are charged to people who typically are enrolled in an overdraft program without their
        consent. In most cases-particularly if they are using debit card-survey results show that consumers
        would rather have their transaction denied than be approved in exchange for a $34 fee. 20

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     Overdraft Explosion: Bank fees for overdrafts Increase 35% In two years
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             Table 4: Share of respondents who would prefer their transaction be
             denied at the 'heckout counter, If account overdrawn, among those with
             a preference 21

                                                       Would prefer to be declined
              $s transac.tlon                                      So%
              $20 transacUon*                                      79%
              $4o transaction                                      77%
             *The average debit card transaction triggering an overdraft fee Is $20.


  Overdraft fees triggered by small dollar transactions, most typically
  occurring when a debit card is used, are especially pernicious because               For :zoo8, consumers
  the credit extended to cover the shortfall is often far smaller tham the             were obligated to
  overdraft fee charged. In previous research we found that, even when
  accounting for overdrafts caused by checks and other triggers, the                   repay $45 billion
  overall overdraft fees charged exceed the credit extended. 22 For 2008,              for $2:1..3 billion in
  we estimate that checking account holders receive only $21.3 billion
  In credit for the $23.7 they pay In overdraft. loan fees. 23 Put another
                                                                                       extremely short-term
  way, consumers were obligated to repay $45 billion for $21.3 billion                 credit.
  in extremely short•term credit.~

  The Federal Reserve is currently considering whether-and how-to provide better consumer choice
  about enrollment In bank overdraft programs. :~s fu descdbed in our policy recommendations below,
  however, regulators must go further to curb existing abuses. In addition, Congress Is considering
  larger-scale reforms to overdraft loan programs. 16


CONCLUSION & POLICY RECOMMENDATIONS
  Each year, over 50 million Americans
  overdraw their checking account, paying nearly
  $24 billion In overdraft fees. Twenty-seven
  million Americans pay five or more overdraft or            Financial institutions approve debit card
  NSF fees each year. The most common triggers of            transactions that they could deny for no
  these fees are small debit card transactions that          fee; they charge exorbitant fees that bear
  could easily be denied for no fee.
                                                             no relationship_ to the cost of covering an
  Financial institutions engage in abusive practices         overdraft; they charge excessive numbers
  that maximbe overdraft fee revenue. They                   of overdraft fees over the course of a day;
  approve debit card transactions that they could
  deny for no feej they charge exorbitant fees that          month, or year; and they automatically
  bear no relationship to the cost of covering an            enroll customers In the most expensive
  overdraft; they charge excessive numbers of
  overdt-aft fees over the course of a day, month, or
                                                             overdraft option available.
  year; and they automatlcally enroll customers in
  the most expensive overdraft option available.
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        As more transactions are conducted through debit cards and banks find new ways to increase thelr
        overdraft charges, the cost to accountholdecs will climb further Policymakecs and regulators can
        help protect consumers from abusive features of overdraft loan programs by adopting the following
        recommendations:

        Prohibit overdraft fees on debit card purchases and ATM
        withdrawals. As a limited exceptions a fee could be allowed
        only if the customer were provided a real-time warning and an
                                                                              Overdraft fees triggered
        opportunity to cancel the transaction. Overdraft fees triggered by    by debit cards could be
        debit cards could be denied for no fee-the outcome consumecs          denied far no fee-the
        overwhelmingly prefer. As recently as 2004, 80 percent of all
        institutions denied debit card overdrafts, and at least one large     outcome consumers
        bank and a number of 5maller institutions continue to decline         overwhelmingly prefer.
        debit card transactions that would otherwise result In an
        ovetdraft.'17 Moreover, the typically small transaction size of d~bit
        card transactions means that accountholders often pay more in fees than they receive in credit.
        Overdraft fees on debit card purchases and ATM withdrawals should either be prohibited altogether,
        or they should only be allowed lf consumers ate provided a real-time warning notifying them that
        the transaction wi\1 result lu an overdraft and telling them the amount of the overdraft fee. Once
        this warning Is given, the consumer should be given an opportunity to cancel the transaction or use
        another method of payment.

        Require that overdraft fees be reasonable and proportional to the actual cost to the financial
        Institution of covering the overdraft. On average 1 overdraft fees exceed the amount of credit
        extended, which is particularly troubling given the short time period until repayment-usually only
        a few days.~~ Since banks are able to repay themselves out of the accountholder's next deposit, these
        loans carry a low default risk relative to their high cost. Overdraft fees should be proportional to the
        actual cost to the Institution of covering the overdraft, taking into account the cost of funds, default
        risk, and a reasonable profit margin. Indeed, a product designed to be proportlonalto the cost to
        the institution of covering the overdraft already exists-an overdraft line of credit at a reasonable
        interest rate.

        Limit excessive overdraft fees. Consumers who ovetdraw their
        accounts frequently may find that overdraft fees beget more
        overdraft fees, driving them further into debt and ultimately                 Policymakers should
        making them less able to meet essential expenses. Once a                      determine what constitutes
        customer has paid an exce.'l$lve number of overdraft fees within
        a 12-month pedod, the financial institution should be required
                                                                                      an excessive number of fees,
        to provide the customer a longer•term, lower-cost alternatlve,                but It should be no more
        such as an overdraft llne of credit, In order to continue charging            than six fees per year.
        the customer for overdrafts. Policymakers should determine
        what constitutes an excessive number of fees, but it should be
        no more than six fees per year.




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~j   Overdraft Explosion: Bank fees for overdrafts Increase 35% in two years
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Prohibit overdraft fees unless the customer has affirmatively consented, or "opted in/' to
the institution's overdraft loan program. CRL surveys have found that nearly 90 percent of
accountholders want to choose whether or not to be enrolled in an overdraft loan program. 39
Financial institutions should be prohibited from charging an overdraft fee unless the customer has
affirmatively agreed to be enrolled.

Require banks and credit unions to comply with the Truth tn lending Act for overdraft loans
by disclosing their cost in terms of an annual percentage rate, When a financial institution covers
a transaction when there are insufficient funds in an account, they are extending credit to that
customer. Regulators should clarify that overdraft fees are finance charges under the Truth in
Lending Act and require appropriate disdosUies to help consumers compare the cost of borrowing
through fee-based overdraft wlth other alternatives, such as an overdraft line of credit.

Create a Consumer Financlal Protection Agency (CFPA) to protect consumers against unfair
practices Jn the financial services ind\tstry. While federal regulators have recognized problems
with overdraft loan practices since the early 2000s, meanlngful ;eforms have yet to be required. The
creation of a new agency focused on consumer protection would provide much needed oversight of
products offered throughout the financial services lndustty, and the CFPA could prohibit abusive
banking practices 5uch as those related to overdraft loans.
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        NOTES

        l O.:blt card trJI\SI\CtiQil.$ (either at the point Q( aale or ATM} c:au~e 44 per~ent of tot~ I ov~rdtaft&, while thedcs trigger jmt 27 percent. &e
        !!ric Halperin, Lim James, & Peter Smith, Debit C<ird Danger: &nki offer little womi1111 andfe!o cMices as cwwmm /!4)' a high fn'(ce for debit c:ard
        ooerdrll/1$, Center for Respondble Lending OllnUllf)' 25, 2007), available 1.t lmp://www.tnponstblelendil11l·Org{overdraft·loans/restar<:h·analysts/
        Dehit-Catd•Danget•tepo<tpdf.
        2 For an example of haw nansactton re-ordering can generate mQte overdraft fees,aee Eric Halperin & Peter Smith, Out of &lane~:
        Ccmumus pay $17.5 billion ~r ye«r In foes for abluiw owrdraft loans, Centerfor Respotulble Lend.lnjj (July 11, 2007), avallableat http"/www.
        tesporuiblelendlng.org/overdrafr•loans[ceseun:h-analys!l/out-of·balance·report•7·10·6nal.pdf lit page S.
        3 While. some financiallnstlturluns have r.o!ntly luw•r.tl the numbur uf ovtlllmft fe•s per day a cusrunter can be charg...l, these fees t'lln b~ well
        In eli<:C$$Of$100daily.
        4 In Ol\ analyns of a uuge database ofche<:ktng ncx:oont mnsaction.s, CRL found that the median ove.rdmft n!sulclng from a debit card
        tronSCic:dQI\ C06t the consumer $1.94 per $1 borrowed. See Eric Halperin, Ll.!a James, & Peter Smtch, D•bft C'Ail'd Danger: &nlc.l' offer Uctle umning
        Md {e1q choices /IS cusromus pay a high price for cltblt am! owrdtafts, Center for Respotuiblc Lending (January 25, 2007}, available at http://wlvw.
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        (AprU 16, 2008), available at;ftttp://www.tcspomiblelendlng.org/overdraft.Joans/research·ana!ysisifinal·camvan·survey+ I6.0S.pdf and OYerdm{l
        Fees 1111d 0/lling In: A scm.oey vf corunmer preferences, Center for Responsible Lending (March 2009) available at http:/IIVIvw.responslblelendittg.
        orgfovenlroft·loans/1'1!$1!1\rch·analysis/consumer·pre.fecence·opt.ln.pdf. ln the 2008 survey, 88 percent of respondents reported wanr:lng a choice as
        to whether tbe!rdeblt card overdrafts would. be COVe~Cd. and more than three-quarters prefecreddeblt card ttarnactlon.s reroltlng In an ovecdrnfr
        be declined.
        6 FDIC Stwl.y of ~kink Overdrll/r Programs, Perlecal Deposit !!Ul.trance Cmporatlon (November 2006}, Bl"d!lable at http://www.fdtc.gov/ban~
        analytlcaVoverdmfr/FDICIJ8_1l.eport_Final_v508.pdf. Calculatl011.1 based on fimlln!l5ln Table IX-11 at ~age 76.
        7 Lisa J111nes &. P~ter Smith, Owrdrll/t l.omu: Suruey jimh gmwlllg~robkm fnrroMcmtrs, Center fOr ll.e.pot~stble Lending (April24, 2006),
        available at hrt:p:/{www.responsiblelending.org/overdmfr.toans/raearclt-anal)ltls/ip013.Qverdrofc_Sutvey4106.pdf.
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        www.(dtc.gov/ba•lk/~nalytlcal/ovenltaft/FDICI3S....Repo~t.Finul_v508.pdf.

        9 1l1e FDIC found that, among rhe fini\Ilc!allnstltuttons lr regulates that partldpated tn lr.s survey, overdraft and NSF fees made up 74 percent
        of all service charge Income. While the FDIC cautions that thl$ brcal<dowl\ m11.y not be applicable to ell oonlca and aedit vnrons, severn[
        lndusny analys~ Including Bretton Wood! and M<leN &!wlces, have flllltld similar results acrrus linanclalirutlltJtimu. Se<! FDIC Study of
        Bank Owrt!.mft ProwMI$1 Pcdcrol Deposit Insurance Corporation (November 2008), available at http:{/wiVw.fdlc.gov/banlc/analytkal/overdraft/
        FDICIJ8_Report.F!mll_v508.pdf.
        10 In sn analysis of n large database of check!ngoctount uansacdon.s, we found thntoverdroft fees were esses~d 69 peromt of d>e time when a
        consumeruverililliV their account, whlle NSF feea were incurred only J !percent of the time. See Eclc Halpedn &. Peter Smith, Our of Balance:
        Ccmumus pay $17.5 bifllon per :year ln/e~ for abnsiw overdraft l001u, Center for &espooslblc Lending (July 11, 2007), available at htt[Y.//www.
        respomlblelendtng.otg/uverdroft·loaru{re:;e~rth"'lnJ!ysls/our·of-balonce-repoct·7·10-Jinal.pdf.

        11 Mike Moebs ofMoebs &rvlces, Inc. projects $38.5 billion In overdtuft and NSF fee•wtll be collected In '2009, with roughly 70 percent, or
        $27 billion attributable to averdroft fees alone. See Ron Ueber&. Andrew Mort!n, Ownperulmg em Debit Cards 15 a BoOn far Btmk:r, 1he New
        York1lmes (September 8, 2009),
         {2 U5!ng our torrent Js;tJntpt!on that overdraft (ee.s alone comprii'C 69 percent of tots! overdroCt und NSF fee>", we project$26.~ bllliol\ ln
         overdraft r.,.,. for 2009 ba.ed on Mike Moebo' projection {$35.8 bUUon • 69% .. $26.6 bllllon), which approxlmates Moeb.' own projection of
         $27 billion.
         13 Jean Ann Fox. Fe<!l for Unawhmr~Owrdra/r Loans Keep Going Up ar Largen &Ilks: Qnuumers ne.l<l !l<!tter proteclio>uiO sll/eg114rd·b.mk
         accoamts, Cornu1ner Fedemtlon of A1uer!ca (July 3!, 2009), available at http://WW\V.~mumerfed.org/pdfs/OD_CPA..bank_fee_survey_
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         14 ]eon Ann Pox, Pee:s for Unaauhorlted OPJTdrofe Looru K~ep Gol'ng Up a~ Largest B<lllkl: Consumm need ~uer proreclions 10 safeguard. bank
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         '-er_Study_Releaso.pdf.
         16 In 2005, there were 26 billion debit card r:nmseetlons, cotnpared tu22 billion credit canis ttaruactlons. Debit card usage r.. expected to
         I11Cre.a..lngly excud that of credit cards, wlrh n projected 46 billion debit card unnsBCtlon.s compared to 3D billion ctedlt caru llfiMitrions by
         2012. Oats from The Nllsol\ Report, Novemb<:r 2008, !Slue 914.
         17 According to the 2007 Federal Reserw Ptl)'llb!ll!S Study, the average value per ${gnacme debit crud cransnction decceased by 4J percent per
         ~r In conscnntdollars from   2003 to 2006, a11d the average value per PIN debit ~:ard transaction decreased by 3.9 percent per year during che
         liame tlma pertod. See The J007 Pedual Resawe Prcyments Study: NonaJsh payment trends in rhe United Srau.s, 2003-2006, Fed em! R...erve S)'$tem

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~        overdraft Explosion: Bank fees for overdrafts Increase 35% In two years
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Sllldy (ound that l7 petcentof debit card transactlOtU In 2008 were fotl~ than$10. See DesjJ!Ie Recession, Card lssnm E:.pecc Dtblc Growth in
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18 Recmfling the CMddng Account Product line; Re.sporullng ro the Unlutpplly Unkmktd, Flrst Manhattan Consulting Oroup (2009).
19 The 2007 Consumer ExpendlrureSucvey conducted by the Butl!&u of Labor S~tl$t1Cf find$ that householdnpend, on average, $118 on
reading marer!als,$[43 on cereal, $[52 on postage and stadonery, $190 on fresh ~getables, $202 on fresl1 fruits, lllld$231 on major appliances.
To calculate the total consumer expenditures, we multiply ilie~ amounts by the 120,171,000 U.S. hO\~Uhold.s. For more Information, see http://
www.bb.gov/c.e't/. A similar analysis was performed by consulting finn Oliver Wyman, see Ajl.lon Fine, Andrew Dre~ner, & !><Lvkl Ooldbe%
lnsufflcitnt Ftmcl.t: Tile umlook far deposit {m anrl irnpUcations fur bonking ins!llull<m.<, Oliver Wyman (2009).
ZO See sucvey findlnf) In wile Parrish, Coruumm Want fn{onnm Cltcl« on Ovenlrll{r Fm cmrl Bunking Options, Center for Respomible Lending
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See Eric Hlllperin &. Petec Smith, Out c{&kmce: Conmmm pay $17.5 billion per year hi fen frn allllsiw owrdra[t loans, Center for Re.ponsible
Lending, (July 11, 2007}, available at http://www.responsiblelendlng.orr./overdrafi-·loonr/resean:h·analysis/out-()f·oolance•report· 7-10-final.pdf.
23 ln our 2006 $1Ddy, we found that credit extended equatf:d to 90.1 percent of total overdroft fe~. Using these •arne as.nnnpt!ons for
2008, banks and credit unions collecting $23.7 billion In overdraft fees would extend only $21.3 billion In credit ($23.7 billion • 90.1 'l6 .. $23.7
billion).~ the appencli:~: of Eric Halperin & Peter Smith, Ou~ of Balance: ConsumeTS /XlY $17,$ billion per ye~~r In [UJ /&r nbusiw. o!M'tdro.ft loa!lf,
Center for Respol!Sible Lending (July Ll, 2007), available et htq»l/www.responslblelendlng.org/overdmft·loam/research-.analysis/our·of·balancc•
report·7·10.final.pdf fot methodology.
24 Cu~m~mets who ovenlraw their accounlll must repay the amount of credit extended In order to bring their nc:count balance back above tero
as well a& the fees Incurred. This equate$ to $4S bll!ion dollars ($Zl.l billion In credit+ $23.7 billion In fees}.
25 The Federal Re.scNe Is con.ldctlng changes to Regulation Rwhich would Impact overdroft loan programs, see http://edodet.ac<:e$S.gpo.
gov/Z009/pdf/E8-3UM.~.
26 Reforms to ovenlmft loan programs hav~ been introdut:ed by Rep. Carolyn Maloney (D·NY) as HR 1455, the Consumer Overdraft
Protection Fatr Practices Act.
Z7 For example, In most clrcuroomn~, C!tlgruup wUI not approve a debit coml tr6mt~ctlon or charge ~n overdraft li:e If the transaction If the
customer lads adr:qu~te funds.
28 PrevlOII$ CRL research bas found that consum~r~ pay their overclmft fee.o and bring their accounts back 'hove xero within 2·5 days, on
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About the Center for Responsible Lending
The Center for Responsible Lending is a nonprofit, nonpartisan research and policy
organization dedicated to protecting homeownershlp and family wealth by working to
eliminate abusive financial practlces. CRL Is affiliated with Self-Help, one of the nation's
largest community development financial Institutions.

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